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                              BANG Energy Drink
                                Survey Report
                                      E. Deborah Jay, Ph.D.
                                           April 2019




                                                 Jay
                                                 Survey
                                                 Strategics
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                         Report of E. Deborah Jay, Ph.D.


I.       Introduction and Summary
         I am a principal and founder of Jay Survey Strategics LLC, a California research firm that

specializes in providing survey design, sampling, data collection and statistical analysis. Jay

Survey Strategics was retained on behalf of Monster Energy Company to conduct a survey with a

nationwide representative sample of adults age 18 and older who were prospective buyers of

energy drinks.1 The purpose of the Jay Survey was to determine whether prospective buyers of

energy drinks are likely to mistakenly believe that BANG's energy drink provides an energy boost

from creatine due to the language on the can for BANG's energy drink.

         As described in more detail in the discussion that follows, after accounting for noise,

approximately one-fifth (21%) of prospective energy drink buyers are likely to mistakenly believe

that BANG's energy drink provides an energy boost from creatine due to the language on the can

for BANG's energy drink.


         A.        Summary of Methodology
         The Jay Survey was conducted between February 19, 2019 and March 8, 2019. Jay Survey

Strategics developed a questionnaire for the survey to be administered over the Internet with

randomly-selected adults age 18 and older. Under my design, direction and supervision, YouGov,

a full-service marketing research firm, selected the sample and collected the data for the Jay Survey

using its online panel, which consists of approximately 2 million persons who are representative




1    Jay Survey Strategics is performing this study on a time and materials basis. Because work in connection with this
     project is ongoing, I do not yet know the total project costs. The hourly rate that Jay Survey Strategics is charging
     for my time on this project in 2019 is $650. Jay Survey Strategics' compensation is not dependent on the outcome
     of this litigation.


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of all adults age 18 and older in the United States. Background information on YouGov's online

panel is in Appendix F.

        Eligibility Criteria

        To be eligible for the Jay Survey, adults age 18 and older had to indicate that they would

be likely to buy an energy drink in the next 3 months.2 In all, 6,540 randomly-selected adults age

18 and older were screened for eligibility and, of these, 628 adults (10%) qualified for the Jay

Survey (i.e., they indicated that they were likely to buy an energy drink in the next 3 months, and

they did not work for a beverage company, or for an advertising agency or marketing research

firm). Half of the 628 qualified survey respondents was randomly assigned to the Test Group (314

survey respondents), and the other half was randomly assigned to the Control Group (314 survey

respondents). Then, each group of survey respondents was shown three photos of a different can

for BANG's peach mango energy drink.

        Test Group Stimuli

        Test Group respondents were shown three photos of the actual can for BANG's peach

mango energy drink. The ingredients "SUPER CREATINE®," "BCAA AMINOS," and "ULTRA

COQ10" are prominently displayed at the top of the can for BANG's peach mango energy drink.

The following statement appears on the side of the can: "Power up with BANG's potent brain &

body-rocking fuel: Creatine, Caffeine, CoQ10 & BCAAs (Branched Chain Amino Acids)." The

phrase "SUPER CREATINE® (Creatyl-L-Leucine [Creatine bonded to L-Leucine])" also is

included in the list of ingredients on the can. Following are the three photos of the actual can for

BANG's peach mango energy drink that were shown to Test Group respondents.3




2   Qualifying survey respondents also had to agree to answer all survey questions on their own, without asking anybody
    else for help or referring to reference materials or the Internet, and they could not live in a household in which
    someone worked for a beverage company, or for an advertising agency or marketing research firm.
3   Test Group respondents could use their keyboard or mouse to enlarge the photos.


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                               TEST PHOTO 1




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                               TEST PHOTO 2




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                               TEST PHOTO 3




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        Control Group Stimuli

        Control Group respondents were shown three photos of a modified can for BANG's peach

mango energy drink. I understand that BANG's peach mango energy drink does not contain

creatine, and it is not a significant source of BCAA aminos or ultra CoQ10 either. For this reason,

the ingredients "SUPER CREATINE®," "BCAA AMINOS" and "ULTRA COQ10" were redacted

from the top of the control can.

        I also understand that caffeine is the source of BANG's "brain and body rocking fuel" (not

creatine, CoQ10 or BCAAs), and that although BANG does not contain creatine, it does contain

Creatyl-L-Leucine. Therefore, the statement "Power up with BANG's potent brain & body-rocking

fuel: Creatine, Caffeine, CoQ10 & BCAAs (Branched Chain Amino Acids)" on the side of the

control can was replaced with what I understand to be a correct statement. The corrected statement

was worded in the following manner: "Power up with BANG's potent brain & body-rocking fuel:

Caffeine. Also contains Creatyl-L-Leucine, CoQ10 & BCAAs (Branched Chain Amino Acids)."

Because I understand that BANG does not contain creatine (but does contain Creatyl-L-Leucine),

the phrase "SUPER CREATINE® (Creatyl-L-Leucine [Creatine bonded to L-Leucine])" was

replaced with the word "Creatyl-L-Leucine" in the list of ingredients on the can.

        Following are the three photos of the modified can for BANG's peach mango energy drink

that were shown to Control Group respondents.4




4   Control Group respondents could use their keyboard or mouse to enlarge the photos.


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                             CONTROL PHOTO 1




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                             CONTROL PHOTO 2




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                             CONTROL PHOTO 3




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         Control Group respondents were shown the modified can for BANG's peach mango energy

 drink to determine whether confusion in the Test Group regarding the source of BANG's energy

 boost, if any, was due to the language on the actual can regarding the ingredients in BANG or

 whether it was due to other reasons (such as, guessing and other sources of "noise.").

         Questions for Qualified Survey Respondents

         Test group and Control Group respondents were asked to look at the three photos of the

 product they were shown as if they were considering whether to buy the product, after which they

 were asked up to four questions about the product in the photos.5 The four questions were the same

 for the Test Group and the Control Group respondents.

         The first question was a general, open-ended question about the main messages or ideas

 conveyed by the package, sometimes called a "communication" question:6

         What, if anything, does this package mainly communicate to you about this product?

         The second question was a directed question or "comprehension" question which assessed

 whether survey respondents understood the product in the photos to be an energy drink:

         Do you think consuming this product…?
                Will boost your energy
                Will not boost your energy
                Don't know

         The order of the first two response categories for this question was randomized across

 survey respondents. Survey respondents who said that consuming the product will boost their

 energy were asked a "filter question" to determine whether they thought the package

 communicated what ingredients in the product will boost their energy:




 5   Before these questions were asked, survey respondents were asked if they could see the photos, and only those
     survey respondents who indicated that they were able to see the photos were eligible to participate in the survey.
 6   Survey respondents could refer back to the photos of the can they were shown when answering the survey questions.


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           Do you think the package…?
                  Does communicate what ingredients in this product will boost your energy
                  Does not communicate what ingredients in this product will boost your energy
                  Don't know

           The order of the first two response categories for this question also was randomized across

 survey respondents. Survey respondents who said the package does communicate what ingredients

 in the product will boost their energy were asked one additional open-ended question concerning

 the ingredients in the product:

           What ingredient or ingredients in this product do you think will boost your energy?

           Before any questions were asked about the product in the photos, the survey informed

 respondents that we were only interested in their opinions and beliefs, and instructed survey

 respondents to indicate whether they did not know the answer to a question or have an opinion or

 belief.

           Survey Administration

           The Jay Survey was double-blind (neither the persons administering the survey, nor the

 survey respondents, were told the name of the sponsor of the survey, that the survey was intended

 to measure whether the information regarding the ingredients on the package for BANG's energy

 drink was misleading, or that the survey was being conducted in connection with litigation).

           The Jay Survey was performed according to accepted survey standards and in conformity

 with the guidelines discussed in the Federal Manual for Complex Litigation, 4th Ed. §11.493

 (2004) and the Reference Guide on Survey Research, Federal Reference Manual on Scientific

 Evidence, 3rd Ed. (2011). The survey population was properly defined as adults age 18 and older

 who were likely to buy an energy drink in the next 3 months, and the sample selected was

 representative of that population. The questions asked in the Jay Survey were clear and not leading.

 The data gathered for the Jay Survey were accurately reported, and the data were analyzed in

 accordance with accepted statistical principles. The Jay Survey was conducted, under my direction,


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 by survey research professionals following proper survey procedures, and the entire process was

 conducted so as to ensure objectivity.


        B.      Summary of Findings and Conclusions
        As described in more detail in this report, the Jay Survey found:

             1. Survey respondents in the Test Group (59%) and the Control Group (54%) were
                most apt to say that the BANG can mainly communicates that the product is an
                energy drink, will energize you, or provide brain or body fuel (or words to that
                effect).

             2. When directly asked whether the product will or will not boost your energy, most
                of the survey respondents in the Test Group (86%) and the Control Group (84%)
                said that BANG will boost your energy.

             3. Most survey respondents in the Test Group (81%) and the Control Group (75%)
                also said that the BANG can does communicate what ingredients in the product will
                boost your energy.

             4. A similar percentage of survey respondents in the Test Group (47%) and the
                Control Group (48%) said that caffeine was one of the ingredients in BANG that
                will boost your energy.

             5. A much larger percentage of survey respondents in the Test Group (22%) than in
                the Control Group (less than 1%) said that creatine was one of the ingredients in
                BANG that will boost your energy.

             6. To determine how many Test Group respondents said creatine was one of the
                ingredients that will boost your energy because of the language on the actual BANG
                can, the results for the Control Group (the group shown the modified BANG can
                which does not refer to super creatine or creatine) were subtracted from the results
                for the Test Group.

             7. The 22% of Test Group respondents who said creatine was one of the ingredients
                that will boost your energy minus the less than 1% of Control Group respondents
                who said the same thing is 21 percentage points (a percentage which I consider to
                be above the threshold for actionable confusion).

             8. This means that approximately one-fifth (21%) of the survey respondents in the
                Test Group thought that creatine was one of the ingredients in BANG that will boost
                your energy due to the language on the actual BANG can.


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                9. The 21 percentage-point difference between the percentage in the Test Group and
                   the Control Group who thought creatine was one of the ingredients in BANG that
                   will boost your energy is substantial and significant.

           Based on the overall design and execution of the Jay Survey, it provides representative and

 reliable information regarding adults age 18 and older who are prospective buyers of energy drinks.

 In my opinion, the Jay Survey strongly supports the conclusion that prospective buyers of energy

 drinks are likely to be confused regarding the source of BANG's energy boost due to the language

 on the BANG can.

           The findings of the Jay Survey and my conclusions are described in more detail in the

 remainder of this report, which is based on information that I have been provided and analyses that

 I have performed thus far.7 I understand that I may be provided with additional information or

 asked to perform further analyses. If so, this report may be amended or revised.


 II.       Credentials
           I am a principal and founder of Jay Survey Strategics LLC, a California research firm that

 specializes in providing survey design, sampling, data collection and statistical analysis. I have

 more than 40 years of experience conducting large-scale surveys of all types (e.g., mail, Internet,

 telephone, and in-person), including surveys for public agencies, nonprofit organizations, private

 companies and law firms. During my career, I have designed and directed well over 800 surveys

 and more than 400 surveys in legal cases. I have testified on behalf of plaintiffs and defendants in

 proceedings before state and federal courts and other tribunals (such as the U.S. Patent and

 Trademark Office and the U.S. International Trade Commission) in numerous cases, and routinely




 7     The materials I considered in forming my opinions are described in Appendix C; screenshots showing how the
       questionnaire appeared on the computer are in Appendix D; and a detailed description of the methods used to conduct
       the Jay Survey is in Appendix E.


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 have been qualified by courts as an expert in survey methodology.8 I also have lectured on

 litigation surveys and survey methods before bar associations, trade associations, and business and

 law schools, and been on the faculties of numerous continuing legal education programs.

         I am past chair of the Council of American Survey Research Organizations (CASRO), a

 not-for-profit trade association representing more than one hundred commercial survey research

 companies in the United States, and I chaired the Standards Committee for the American

 Association for Public Opinion Research, a professional society of over 2,000 individuals engaged

 in opinion research, market research, and social research at public agencies, nonprofit

 organizations and private companies.9 I have served on the editorial board of several journals, and

 my publications include articles in the Trademark Reporter, the Encyclopedia of Survey Research

 Methods, Polling America: An Encyclopedia of Public Opinion, and Trademark and Deceptive

 Advertising Surveys: Law, Science and Design.

         I hold a bachelor's degree in psychology and political science from the University of

 California at Los Angeles (magna cum laude) and a master's degree and doctorate in political

 science from the University of California at Berkeley. Before founding Jay Survey Strategics, I

 served for 23 years as President and CEO of Field Research Corporation, the highly-respected

 marketing and opinion research firm started by Mervin Field in 1945. When I was President and

 CEO of Field Research, we conducted over 100,000 interviews per year with representative

 samples of the public, consumers, corporate executives, and other populations. Field Research also

 conducted the nationally-quoted Field Poll, which tracked voter preferences in all major statewide

 elections in California. During my tenure, the average deviation between The Field Poll's final




 8   Appendix A includes a list of cases in which I have testified in deposition and/or at trial during the past four years,
     and Appendix B includes my resume and a list of publications and presentations I have authored (or coauthored)
     during the past 10 years.
 9   CASRO merged with the Marketing Research Association (the MRA) in January 2017 to form the Insights
     Association.


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 pre-election poll in California and the actual percentage vote in California for the winning

 candidate in elections for President, Governor and U.S. Senate was approximately two percentage

 points, and the Field Poll received an A+ rating for accuracy from the highly-respected statistician

 Nate Silver on his www.fivethirtyeight.com website.

        I also have been a program director at SRI International (formerly Stanford Research

 Institute), a manager with KPMG Peat Marwick in San Francisco, and a research associate at the

 Survey Research Center at the University of California at Berkeley.


 III.   Findings
        This section describes the findings from the Jay Survey. The verbatim responses to the

 open-ended questions are in Appendix G and Appendix H for the Test Group and Appendix I and

 Appendix J for the Control Group.


        A.      What the Package Mainly Communicates about BANG
        Qualifying survey respondents were first asked the following general, open-ended question

 about the product they were shown: "What, if anything, does this package mainly communicate to

 you about this product?" Table 1 summarizes the responses to this question. As shown in Table 1,

 survey respondents in the Test Group (59%) and the Control Group (54%) were most apt to say

 that the BANG can mainly communicates that the product is an energy drink, will energize you,

 or provide brain or body fuel (or words to that effect).




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                                                       Table 1
                              What the Package Mainly Communicates About the Product*
                                                                             Test Group     Control Group
                                                                            (Actual Can)    (Modified Can)
                                                                                (n = 314)     (n = 314)
         An energy drink, it energizes you or is body or brain fuel                59%           54%
         Low in sugar or no sugar                                                  22            20
         Different, not typical, or a better option                                14              9
         Low‐calorie or no calorie                                                 12            13
         Has caffeine                                                              10            13
         Healthy or healthier than sugary drinks                                    8              8
         Won't crash and burn                                                       7              4
         It's Bang                                                                  6              7
         Has vitamins                                                               4              4
         Low‐carb, no carb or keto‐friendly                                         4              2
         Has creatine, BCAA aminos or COQ10                                         4              1
         None of the above/Misc. other responses only (e.g., it's peach            14            16
           mango, tasty, good, made in the U.S., natural, not for people
           under 18 or on prescriptions)
         Don't know                                                                 8              7
        * Based on Question C1. Note, percentages add to more than 100% because some respondents said
          that the package mainly communicated more than one thing.

        B.      Whether Consuming BANG Will Boost Your Energy
        Next, survey respondents were asked whether they thought consuming the product they

 were shown will or will not boost their energy. Table 2 summarizes survey respondents' answers

 to this question. As shown in Table 2, most of the survey respondents in the Test Group (86%) and

 the Control Group (84%) said that they thought consuming BANG will boost your energy.

                                                      Table 2
                                         Whether BANG Will Boost Your Energy*
                                                                             Test Group     Control Group
                                                                            (Actual Can)    (Modified Can)
                                                                                (n = 314)     (n = 314)
         Will boost your energy                                                    86%           84%
         Will not boost your energy                                                 5              6
         Don't know                                                                 9            10
        * Based on Question C2.




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        C.      Whether the Package for BANG Communicates What Ingredients
                Will Boost Your Energy
        Survey respondents who said that BANG will boost your energy were asked whether the

 package they were shown does or does not communicate the ingredients in the product that will

 boost your energy. Table 3 summarizes survey respondents' answers to this question. As shown in

 Table 3, most survey respondents in the Test Group (81%) and the Control Group (75%) said that

 the can they were shown does communicate which ingredients in BANG will boost your energy.

                                                     Table 3
                           Whether the Package for BANG Communicates What Ingredients
                                      in the Product Will Boost Your Energy*
                                                                            Test Group    Control Group
                                                                           (Actual Can)   (Modified Can)
                                                                            (n = 314)       (n = 314)
         Does communicate the ingredients                                      81%             75%
         Does not communicate the ingredients                                    4               6
         Don't know                                                            <1                3
         Not applicable – Did not say the product will boost your energy       14              16
        * Based on Question C3.

        D.      What Ingredients in BANG Will Boost Your Energy
        Survey respondents who said that the package they were shown does communicate which

 ingredients in the product will boost their energy were asked the following question: "What

 ingredient or ingredients in this product do you think will boost your energy?" Survey respondents'

 answers to this question are summarized in Table 4. As shown in Table 4, a similar percentage of

 survey respondents in the Test Group (47%) and the Control Group (48%) said that caffeine was

 one of the ingredients in BANG that will boost your energy. However, a much larger percentage

 of survey respondents in the Test Group (22%) than in the Control Group (less than 1%) said that

 creatine was one of the ingredients in BANG that will boost your energy.




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        To determine how many Test Group respondents said creatine was one of the ingredients

 that will boost your energy because of the language on the actual BANG can, the results for the

 Control Group (the group shown the modified BANG can which does not refer to super creatine

 or creatine) were subtracted from the results for the Test Group. The 22% of Test Group

 respondents who said creatine was one of the ingredients that will boost your energy minus the

 less than 1% of Control Group respondents who said the same thing is 21 percentage points (a

 percentage which I consider to be above the threshold for actionable confusion). This means that

 approximately one-fifth (21%) of the survey respondents in the Test Group thought that creatine

 was one of the ingredients in BANG that will boost your energy due to the language on the actual

 BANG can. The 21 percentage-point difference between the percentage in the Test Group and the

 Control Group who thought creatine was one of the ingredients in BANG that will boost your

 energy is substantial and significant.

                                                        Table 4
                                   What Ingredients in BANG Will Boost Your Energy*
                                                                              Test Group    Control Group
                                                                             (Actual Can)   (Modified Can)
                                                                               (n = 314)      (n = 314)
          Caffeine                                                                47%              48%
          Creatine                                                                22               <1
          Super creatine                                                              1            <1
          Creatyl or Creatyl‐L‐Leucine                                                0            2
          BCAA aminos or amino acids                                                  9            5
          COQ10 or Ultra COQ10                                                        9            3
          Vitamins                                                                14               15
          Misc. other responses                                                   13               13
          Don't know                                                              10               11
          Not applicable – Did not say the package communicates which                 5            9
            ingredients in the product will boost your energy
          Not applicable – Did not say the product will boost your energy         14               16
        * Based on Question C4. Note, percentages add to more than 100% because some respondents
          mentioned more than one ingredient.




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  IV. Conclusions
        The Jay Survey was performed according to accepted survey standards and in conformity

 with the guidelines discussed in the Federal Manual for Complex Litigation, 4th Ed. §11.493

 (2004) and the Reference Guide on Survey Research, Federal Reference Manual on Scientific

 Evidence, 3rd Ed. (2011). Based on the overall design and execution of the Jay Survey, it provides

 representative and reliable information regarding adults age 18 and older who are prospective

 buyers of energy drinks. In my opinion, the Jay Survey strongly supports the conclusion that

 prospective buyers of energy drinks are likely to be confused regarding the source of BANG's

 energy boost due to the language on the BANG can.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

 true and correct.

        Executed this 10th day of April 2019 at Redwood City, California.




                                                                  E. Deborah Jay, Ph.D.




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                                Appendix A

                        E. Deborah Jay, Ph.D.
                    Deposition and Trial Testimony
                      During the Past Four Years




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               Deposition and Trial Testimony During the Past Four Years

 1.   RXD Media, LLC v. IP Application Development LLC and Apple, Inc. (United States
      District Court, Eastern District of Virginia)
        Case No. 1:18-CV-486-LO-TCB
 2.   Erik M. Underwood v. Bank of America (United States District Court, District of Colorado)
         Case No. 1:18-CV-02329-WYD
 3.   Solid 21, Inc. v. Hublot of America (United States District Court, Central District of
      California)
         Case No. 2:11-CV-00468-DMG-JC
 4.   Saxon Glass Technologies, Inc. v. Apple, Inc. (United States District Court, Western District
      of New York)
         Case No. 1:15-CV-00581-EAW-HKS
 5.   VirnetX, Inc. and Leidos v. Apple, Inc. (United States District Court, Eastern District of
      Texas)
         Case No. 6:12-CV-00855-RWS
 6.   Lauren Hall v. Welch Foods, Inc. and The Promotion In Motion Companies (United States
      District Court, Eastern District of New York)
        Case No. 1:17-CV-05828-MKB-VMS
 7.   Luci Bags LLC v. Younique LLC (United States District Court, Eastern District of Texas)
        Case No. 4:17-CV-377
 8.   The Kroger Co. v. Lidl (United States District Court, Eastern District of Virginia)
        Case No. 3:17-CV-00480-JAG
 9.   Pom Wonderful LLC v. The Coca-Cola Company (United States District Court, Central
      District of California)
        Case No. 2:08-CV-06237-SJO-FMO
 10. VirnetX, Inc. and Science Applications Int'l Corp. v. Apple, Inc. (United States District
     Court, Eastern District of Texas)
        Case No. 6:13-CV-00855
 11. Denis George Mahan P/K/A Deney Terrio v. Hasbro, Inc. and Hasbro Studios, LLC.
     (United States District Court, Middle District of Florida)
       Case No. 6:15-CV-00188-RBD-GJK
 12. Twentieth Century Fox Television and Fox Broadcasting Co. v. Empire Distribution, Inc.
     (United States District Court, Central District of California)
       Case No. 2:15-CV-02158-PA-FFM




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 13. Linx Bracelets, Inc. v. Origami Owl, LLC (United States District Court, Central District of
     California)
        Case No. 2:14-CV-06799-SVW (JEM)
 14. In the Matter of Certain Footwear Products (United States International Trade Commission)
        Investigation No. 337-TA-936
 15. Pinterest, Inc. v. Pintrips, Inc. (United States District Court, Northern District of California)
        Case No. 13-4608 (HSG)




 1048                                  Jay Survey Strategics LLC                        Appendix A‐2
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                                       Appendix B

                      E. Deborah Jay, Ph.D.
        Resume and Publications and Presentations Since 2009




       Resume

       Publications and Presentations Since 2009




 1048                               Jay Survey Strategics LLC      Appendix B
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                             E. Deborah Jay, Ph.D.


 Current Position
    Principal/Founder, Jay Survey Strategics LLC
    2000 Broadway St., Suite 143
    Redwood City, CA 94063
    (415) 533-0020
    deborahjay@jaysurveystrategics.com
    Jay Survey Strategics is a research agency primarily involved in conceptualizing, planning,
    executing, and reporting on custom-designed opinion studies.

 Technical Skills
    Expert in research design and all phases of survey methodology – questionnaire design,
    sampling, data collection, data processing, qualitative and quantitative data analysis, with
    more than 40 years' experience conducting large-scale surveys of all types.

 Research Experience
    Branding, marketing and advertising research:
       Responsible for branding, marketing, and advertising research relating to services and
       products in a variety of industries (e.g., health, education, technology, communications,
       finance, transportation, and wholesale/retail trade).
    Public policy studies:
       Responsible for policy analyses and evaluations concerning medical assistance programs
       (e.g., Medicaid, Medicare, and county health services), public health campaigns (e.g.,
       concerning tobacco use, diet and nutrition), educational programs (e.g., for disadvantaged
       students and students with disabilities), general assistance programs, and other public
       issues (e.g., child care, access to telephone service, the environment).
    Litigation support:
        Court-qualified expert in survey methodology; responsible for conducting and evaluating
        surveys for legal cases involving a variety of issues (e.g., trademark, copyright and patent
        infringement, false advertising, right of publicity/false endorsement, defamation,
        exempt/nonexempt employment classification, off-the-clock work and other wage and
        hour issues, employment discrimination, product liability, business conduct, natural
        resources valuation, change of venue) and providing expert testimony in proceedings
        before state and federal courts and other tribunals such as the International Trade
        Commission and the U.S. Patent and Trademark Office.




 1048                                Jay Survey Strategics LLC                        Appendix B‐1
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                                   #:780


 Professional Experience Before Founding Jay Survey Strategics
    President and CEO, Field Research Corporation, San Francisco, CA.
    Program Director and Senior Research Social Scientist, SRI International (formerly
       Stanford Research Institute), Menlo Park, CA.
    Manager, Management Consulting Division, KPMG Peat Marwick, San Francisco, CA.
    Public Policy Analyst/Survey Specialist, Teknekron, Berkeley, CA.
    Research Associate, Survey Research Center, University of California, Berkeley, CA.


 Education
    Ph.D. in political science, University of California at Berkeley (1981).
    M.A. in political science, University of California at Berkeley (1973).
    B.A. in psychology/political science, University of California at Los Angeles (1972, magna
       cum laude, Phi Beta Kappa).


 Professional Associations
    Council of American Survey Research Organizations (CASRO):
       Board of Directors (1995-2001); Chair (1999); Chair-Elect (1998); Secretary (1997); Chair,
       Committee on Survey Research Quality (1997-1998); Chair, Committee on Standards and
       Ethics (1995-1996).
    American Association for Public Opinion Research (AAPOR):
       Editorial Board, Survey Practice (2007-2017); Advisory Council, Public Opinion
       Quarterly (2008-2012); Executive Council (2001-2003); Standards Chair (2002-2003);
       Associate Standards Chair (2001-2002); Standards Committee Member (1992); Past
       President, Pacific Chapter (1989); Appointed to numerous ad hoc committees (e.g., 2009
       Standards Review Committee, 2010 Survey-Based Legal Evidence Committee).
    International Trademark Association (INTA):
        Editorial Board, Trademark Reporter (2012-present); Brand Names Education Committee
        (2004).


 Other Directorships
    Board of Directors, Roper Center for Public Opinion Research (housed at the University of
       Connecticut) (1997-2003); Member, Committee on Data Acquisitions & Standards (2001-
       2003).
    Board of Directors, Bay Area Council (1991-2009).
    Board of Directors, Bay Area Economic Forum (1996-2001).
    San Francisco Municipal Fiscal Advisory Committee to the Mayor (Committee Member,
       1991-2001; Executive Committee Member, 1998-2001).

 1048                                 Jay Survey Strategics LLC                    Appendix B‐2
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                                   #:781


 Teaching Experience
    Lecturer, New York City Bar Association, Trademarks and Unfair Competition
       Committee (New York, June 2015).
    Faculty member, 2015 Trademark Office Comes to California, Continuing Legal
       Education Seminars sponsored by The State Bar of California Intellectual Property
       Law Section (Los Angeles and San Francisco, 2015).
    Faculty member, IP BYTES: Hot Topics in Trademark Law, Continuing Legal Education
       Seminar sponsored by the Intellectual Property Section of the Bar Association of San
       Francisco (2014).
    Lecturer, American Intellectual Property Law Association, Annual Conference
       (Washington DC, 2012).
    Faculty member, Current Trends in Wage & Hour Litigation: Economic, Legal and
       Statistical Issues, Continuing Legal Education Seminar sponsored by ERS Group (San
       Francisco, 2006 and 2009; New York, 2007; Santa Monica, 2006, 2007, 2009, 2011 and
       2012).
    Lecturer, New York City Bar Association, Trademark and Copyright Committee (New York,
       2011).
    Faculty member, 2010 IP Damages Institute sponsored by the CalCPA Education
       Foundation (Los Angeles, 2010).
    Faculty member, The State Bar of California 35th Annual Intellectual Property Institute
       (Napa, 2010).
    Faculty member, Florida Bar Intellectual Property Law Symposium (Tampa, 2010).
    Lecturer, Marketing Research Council (New York, 2010).
    Lecturer, Surveys in Trademark Prosecution and Litigation, Continuing Legal Education
       Seminar and Roundtable hosted by Graham and Dunn for the International Trademark
       Association (Seattle, 2009).
    Guest lecturer, American Studies Program, University of California at Berkeley (1999 and
      2008).
    Lecturer, San Francisco Intellectual Property Law Association. (San Francisco, 2006).
    Faculty member, Advertising and Marketing Law, Continuing Legal Education Seminar
       sponsored by Insight Information (Chicago, 2006).
    Faculty member, 2005 Advertising and Trademark Seminar, sponsored by Kirkland and Ellis
       LLP (Chicago, 2005).
    Faculty member, Trademark Portfolio Acquisition and Protection, Continuing Legal
       Education Seminar sponsored by Law Seminars International (San Diego, 2004).
    Faculty member, Trademark Dilution & Damages, Intellectual Property Section, The
       Barristers Club of San Francisco (2003).
    Guest lecturer, Intellectual Property Seminar, Boalt Law School, University of California at
       Berkeley (1999-2003).


 1048                               Jay Survey Strategics LLC                      Appendix B‐3
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    Faculty member, Basics of Trademark Litigation, Continuing Legal Education Seminar
       sponsored by the International Trademark Association (Washington DC, 2001).
    Guest lecturer at the graduate and undergraduate levels, Marketing Research Seminars, Haas
       School of Business, University of California at Berkeley (1995-2000).
    Faculty member, Forensics Research Conference, Council of American Survey Research
       Organizations (New York, 2000).
    Faculty member, Employment Discrimination: Statistical Evidence and Economic Exposure,
       Continuing Legal Education Seminar sponsored by ERS Group (Atlanta, Chicago, San
       Francisco, 1996-2000).
    Faculty member, Advertising Law for the Next Century in California, Continuing Legal
       Education Seminar sponsored by Lorman Education Services (San Francisco, 1999).
    Guest lecturer, Institute for Governmental Studies, University of California at Berkeley
       (1999).
    Faculty member, National Advertising Division of the Council of Better Business Bureaus,
       Workshop IX (San Francisco, 1998).
    Lecturer on public opinion research, Political Science Department, University of California at
       Davis (1978).




 1048                               Jay Survey Strategics LLC                       Appendix B‐4
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                                   #:783



                                  E. Deborah Jay, Ph.D.
                        Publications and Presentations Since 2009
                                  (Author or Co‐author)


 "Trademark Survey Evidence: Getting Through the Gate." Presentation at the 2018 Perkins Coie
    Intellectual Property Group Retreat (Denver, October 2018).

 "Targeting Trademark Surveys." Presentation to the New York City Bar Association Trademarks
    and Unfair Competition Committee (New York, June 2015).

 "Mark My Words: Contemporary Trademark Surveys." Presentation for the 2015 Trademark
   Office Comes to California, Continuing Legal Education Seminars sponsored by The State
   Bar of California Intellectual Property Law Section (Los Angeles and San Francisco, April
   2015).

 "He Who Steals My Good Name: Likelihood-of-Confusion Surveys in TTAB Proceedings." 104
    Trademark Reporter 1141 (2014).

 "Millennium Falconry: Navigating the Hyperspace of 21st Century Trademark Surveys."
    Presentation for the IP BYTES: Hot Topics in Trademark Law seminar sponsored by the
    Intellectual Property Section of the Bar Association of San Francisco (July 2014).

 "Ten Truths of False Advertising Surveys." 103 Trademark Reporter 1116 (2013).

 "Polling Consumers: Surveys in Advertising Cases." Presentation at the 2012 American
    Intellectual Property Law (AIPLA) Annual Conference. (Washington DC, October 2012).

 "Genericness Surveys in Trademark Disputes: Under the Gavel." In Trademark and Deceptive
    Advertising Surveys: Law, Science, and Design, edited by Shari Seidman Diamond and Jerre
    B. Swann (Chicago, IL: American Bar Association, 2012).

 "He Who Steals My Good Name: The Use of Survey Evidence in Intellectual Property Cases."
    Presentation at the New York City Bar Association Trademark and Copyright Committee
    (New York, December 2011).

 "Using Surveys to Assess Damages in Intellectual Property Disputes." Presentation at the 2010
    IP Damages Institute sponsored by the CalCPA Education Foundation (Los Angeles,
    November 2010).

 "Wine, Women & Song: The Use of Survey Evidence in the Gallo, Princess Diana and Napster
    Cases." Presentation at The State Bar of California 35th Annual Intellectual Property Institute
    (Napa, October 2010).

 "Asked and Answered: Surveys in Trademark and Other Intellectual Property Disputes."
    Presentation at the Florida Bar Intellectual Property Law Symposium (Tampa, March 2010).




 1048                                Jay Survey Strategics LLC                        Appendix B‐5
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                                   #:784


 "Surveys as Scientific Evidence: Anatomy of a Survey in Court." Presentation for the Marketing
    Research Council (New York, March 2010).

 "Genericness Surveys in Trademark Disputes: Evolution of Species." 99 Trademark Reporter.
    1118 (2009).

 "Survey Evidence in Trademark and Other Intellectual Property Disputes." Presentation for a
    seminar and roundtable hosted by Graham and Dunn for the International Trademark
    Association (Seattle, January 2009).




 1048                               Jay Survey Strategics LLC                      Appendix B‐6
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                                   #:785



                                Appendix C

                          Materials Considered




 1048                        Jay Survey Strategics LLC             Appendix C
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 Materials Considered
        I was provided with the complaint filed on September 4, 2018 in connection with Monster

 Energy Company v. Vital Pharmaceuticals, Inc. (C.D. Cal., Case No. 5:18-cv-1882). I also looked

 at the BANG energy drink online and in retail stores. The other materials that I considered are

 described in my report and/or included as appendices to my report.




 1048                                Jay Survey Strategics LLC                     Appendix C‐1
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                                Appendix D

                       Stimuli and Questionnaire
                       (Sample Web Screenshots)




 1048                         Jay Survey Strategics LLC             Appendix D
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                                   #:788



                                TEST PHOTO A1




 1048                         Jay Survey Strategics LLC            Appendix D‐1
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                                   #:789



                                TEST PHOTO A2




 1048                         Jay Survey Strategics LLC            Appendix D‐2
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                                TEST PHOTO A3




 1048                         Jay Survey Strategics LLC            Appendix D‐3
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                                   #:791



                             CONTROL PHOTO B1




 1048                         Jay Survey Strategics LLC            Appendix D‐4
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                             CONTROL PHOTO B2




 1048                         Jay Survey Strategics LLC            Appendix D‐5
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                             CONTROL PHOTO B3




 1048                         Jay Survey Strategics LLC            Appendix D‐6
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                                   #:794



                        INTRODUCTION / QUESTION S1




 1048                         Jay Survey Strategics LLC            Appendix D‐7
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                                   #:795



                                QUESTION S2A
                  (IF USING A CELL PHONE OR SMART PHONE)




                                QUESTION S2B
                                  (IF YES)




 1048                         Jay Survey Strategics LLC            Appendix D‐8
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                                 QUESTION S3
             (IF USING A TABLET, LAPTOP OR DESKTOP COMPUTER)




 1048                         Jay Survey Strategics LLC            Appendix D‐9
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                                   #:797



                                  QUESTION S4
                             (IF S3 = YES, I AGREE)




 1048                         Jay Survey Strategics LLC           Appendix D‐10
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                                QUESTION S5
                    (IF S4 MATCHES GENDER IN DATABASE)




 1048                         Jay Survey Strategics LLC           Appendix D‐11
Case 5:18-cv-01882-JGB-SHK Document 67-5 Filed 04/10/19 Page 46 of 148 Page ID
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                                     QUESTION S6*
                    (IF S5 = AGE 18+ AND AGE MATCHES DATABASE)




 * The order of the first six answer categories was randomized across respondents.


 1048                                 Jay Survey Strategics LLC                      Appendix D‐12
Case 5:18-cv-01882-JGB-SHK Document 67-5 Filed 04/10/19 Page 47 of 148 Page ID
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                                      QUESTION A1*
                           (IF S6 = GREEN, RED, BLUE, YELLOW)




 * The order of the first six answer categories was randomized across respondents.


 1048                                 Jay Survey Strategics LLC                      Appendix D‐13
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                                   #:801



                                        QUESTION A2*




 * The order of the first six answer categories was randomized across respondents.


 1048                                 Jay Survey Strategics LLC                      Appendix D‐14
Case 5:18-cv-01882-JGB-SHK Document 67-5 Filed 04/10/19 Page 49 of 148 Page ID
                                   #:802



                                       QUESTION A3*
                                (IF A2 = AN ENERGY DRINK)




 * The order of the first three answer categories was randomized across respondents.


 1048                                Jay Survey Strategics LLC                     Appendix D‐15
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                                   #:803



                               INSTRUCTION B1
          (IF A3 ≠ A BEVERAGE COMPANY OR AN ADVERTISING AGENCY
                        OR MARKETING RESEARCH FIRM)




                               INSTRUCTION B2




 1048                         Jay Survey Strategics LLC           Appendix D‐16
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                                   #:804



                              PHOTOGRAPH B3A
                                 (TEST A1)




 1048                         Jay Survey Strategics LLC           Appendix D‐17
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                              PHOTOGRAPH B3B
                                 (TEST A2)




 1048                         Jay Survey Strategics LLC           Appendix D‐18
Case 5:18-cv-01882-JGB-SHK Document 67-5 Filed 04/10/19 Page 53 of 148 Page ID
                                   #:806



                              PHOTOGRAPH B3C
                                 (TEST A3)




 1048                         Jay Survey Strategics LLC           Appendix D‐19
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                              PHOTOGRAPH B3A
                                (CONTROL B1)




 1048                         Jay Survey Strategics LLC           Appendix D‐20
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                                   #:808



                              PHOTOGRAPH B3B
                                (CONTROL B2)




 1048                         Jay Survey Strategics LLC           Appendix D‐21
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                                   #:809



                              PHOTOGRAPH B3C
                                (CONTROL B3)




 1048                         Jay Survey Strategics LLC           Appendix D‐22
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                                   #:810



                                 QUESTION B4




 1048                         Jay Survey Strategics LLC           Appendix D‐23
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                               INSTRUCTION B5
                                 (IF B4 = YES)




 1048                         Jay Survey Strategics LLC           Appendix D‐24
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                                   #:812



                                 QUESTION C1




 1048                         Jay Survey Strategics LLC           Appendix D‐25
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                                   #:813



                                        QUESTION C2*


                                          ROTATION A




 * The order of the first two answer categories was rotated across respondents.


 1048                                 Jay Survey Strategics LLC                   Appendix D‐26
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                                   #:814



                                        QUESTION C2*


                                          ROTATION B




 * The order of the first two answer categories was rotated across respondents.


 1048                                 Jay Survey Strategics LLC                   Appendix D‐27
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                                   #:815



                                       QUESTION C3*
                            (IF C2 = WILL BOOST YOUR ENERGY)
                                          ROTATION A




 * The order of the first two answer categories was rotated across respondents.


 1048                                 Jay Survey Strategics LLC                   Appendix D‐28
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                                   #:816



                                       QUESTION C3*
                            (IF C2 = WILL BOOST YOUR ENERGY)
                                          ROTATION B




 * The order of the first two answer categories was rotated across respondents.


 1048                                 Jay Survey Strategics LLC                   Appendix D‐29
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                                   #:817



                                QUESTION C4
                (IF C3 = DOES COMMUNICATE THE INGREDIENTS
                        THAT WILL BOOST YOUR ENERGY)




 1048                         Jay Survey Strategics LLC           Appendix D‐30
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                                   #:818



                                    CLOSING




 1048                         Jay Survey Strategics LLC           Appendix D‐31
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                                Appendix E

                           Jay Survey Methods




 1048                        Jay Survey Strategics LLC             Appendix E
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 Jay Survey Methods
         The Jay Survey was conducted with a nationwide representative sample of adults age 18

 and older who were prospective buyers of energy drinks. The purpose of the Jay Survey was to

 determine whether prospective buyers of energy drinks are likely to mistakenly believe that

 BANG's energy drink provides an energy boost from creatine due to the language on the can for

 BANG's energy drink.


         A.       Sampling Frame and Questionnaire
         Under my design, direction and supervision, YouGov, a full-service marketing research

 firm, selected the sample and collected the data for the Jay Survey using its online panel, which

 consists of approximately 2 million persons who are representative of all adults age 18 and older

 in the United States.1 Each adult who was randomly selected from the YouGov panel and invited

 to participate in the Jay Survey was provided with a unique link to the survey, so that no person

 could participate in the survey more than once.2

         Survey Introduction and Eligibility Questions

         Jay Survey Strategics developed a questionnaire for the survey to be completed online by

 a nationwide representative sample of adults age 18 and older randomly selected from YouGov's

 online panel.3 The Jay Survey was introduced in the following manner:

         We are conducting a short opinion survey for Jay Survey Strategics, an independent research
         firm in California.

         The survey then asked respondents what type of device they were using to complete the

 questionnaire:


 1   Background information on YouGov's online panel is in Appendix F.
 2   The IP address and other information in YouGov's panel database also were checked to ensure that the sample did
     not include duplicate respondents.
 3   Sample screenshots showing how the questionnaire appeared on the computer are in Appendix D.


 1048                                      Jay Survey Strategics LLC                                Appendix E‐1
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         (S1) What type of device are you using to complete this questionnaire?
               A cell phone or smart phone
               A tablet
               A laptop or desktop computer
               Decline to answer

         Survey respondents who were using a tablet, laptop, or desktop computer to complete the

 questionnaire were eligible to continue. 4 These survey respondents were asked the following

 question:

         (S3) Do you agree to answer all survey questions on your own, without asking anybody
              else for help or referring to reference materials or the Internet?

         Only those respondents who agreed to complete the survey on their own (without help

 from anyone else or referring to reference materials or the Internet) were eligible to participate in

 the Jay Survey. The Jay Survey then asked survey respondents for their gender and age:

         (S4) What is your gender?
               Male
               Female

         (S5) What is your age?

         To be eligible for the Jay Survey, a respondent had to be age 18 or older. For validation

 purposes, the demographic information (the gender and age) that respondents provided in the

 survey was compared with the demographic information in YouGov's panel database. Only those

 survey respondents whose gender and age were consistent with the information in the YouGov

 panel database were eligible to participate in the Jay Survey.5 In other words, the demographic

 information was validated for 100% of the individuals included in the Jay Survey.



 4   Survey respondents who said that they were using a cell phone or smartphone to complete the questionnaire were
     asked the following question: (S2a) "We would like you to complete this survey on a tablet, laptop or desktop
     computer. Do you have access to a tablet, laptop, or desktop computer?"
     Survey respondents who answered this question in the affirmative were instructed, as follows: (S2b) "Please exit
     this window and log on to your tablet, laptop, or desktop computer. You can return to this survey on your other
     device by clicking the link in the email invitation you received for this survey."
 5   The age an adult provided in the survey was considered to be consistent if it was within two years of the age
     derived from the birthdate the adult provided when he/she joined the YouGov online panel.


 1048                                       Jay Survey Strategics LLC                                Appendix E‐2
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         Survey respondents who provided valid demographic information were asked the

 following question:6

         (S6) What order are these colors in?# (Note, the image may take a few seconds to load.)




                  Blue, yellow, green, red
                  Green, red, blue, yellow
                  Blue, red, green, yellow
                  Red, yellow, green, blue
                  Yellow, green, blue, red
                  Green, blue, red, yellow
                  None of the above
                  Don't know

         This question was included in the survey to ensure that respondents were paying

 attention. Survey respondents who correctly indicated that the colors were "green, red, blue,

 yellow" were eligible to continue.

         Survey respondents were asked the following questions to determine whether they were

 consumers of energy drinks:

         (A1) In the past 3 months, which of the following beverages, if any, did you buy?#
                A regular or diet soda
                An energy drink
                Fruit juice
                Low‐fat or nonfat milk
                Bottled water (either flavored or unflavored)
                A bottled tea or coffee drink
                None of the above
                Don't know




 6   A cross-hatch symbol (#) indicates that the order of the response categories for a question was randomized across
     survey respondents. For example, for this question, "Blue, yellow, green, red" was the first response category for
     approximately 17% of the survey respondents, the second response category for approximately 17% of the survey
     respondents, the third response category for approximately 17% of the survey respondents and so on.


 1048                                       Jay Survey Strategics LLC                                 Appendix E‐3
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         (A2) In the next 3 months, which of the following beverages, if any, are you likely to buy?#
                A regular or diet soda
                An energy drink
                Fruit juice
                Low‐fat or nonfat milk
                Bottled water (either flavored or unflavored)
                A bottled tea or coffee drink
                None of the above
                Don't know

         To qualify for the Jay Survey, respondents had to indicate that they were likely to buy an

 energy drink in the next 3 months.7 Survey respondents who were a prospective buyer of an

 energy drink were asked the following question:

         (A3) Do you or does anyone in your household work for any of the following types of
              organizations or companies…?#
                A government agency
                An advertising agency or marketing research firm
                A beverage company
                None of the above
                Don't know

         Survey respondents were not eligible to participate in the Jay Survey if they said that

 someone in their household worked for a beverage company, or for an advertising agency or

 marketing research firm. This is because these respondents might have special knowledge about

 the subject of the survey – namely, what the packaging for energy drinks communicates to

 relevant consumers.

         In all, 6,540 randomly-selected adults age 18 and older were screened for eligibility and,

 of these, 628 (10%) qualified for the Jay Survey (i.e., they were a prospective buyer of an energy

 drink, and they did not work for a beverage company, or for an advertising agency or marketing




 7   Although it was not one of the eligibility criteria, most qualifying survey respondents (86%) also had bought an
     energy drink in the past 3 months.


 1048                                       Jay Survey Strategics LLC                                Appendix E‐4
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 research firm). 8 Approximately half of the 628 qualified survey respondents was randomly

 assigned to the Test Group (314 survey respondents), and the other half was randomly assigned

 to the Control Group (314 survey respondents). Survey respondents in the Test Group and the

 Control Group were told the following:

         (B1) If you usually wear contact lenses or eyeglasses when you use a tablet, laptop or
              desktop computer and are not currently wearing them, please put them on now.

         (B2) Now, we would like you to look at three photos of a product. Please look at these
              photos as if you were considering whether to buy this product.
              Note, it may take a few seconds for each photo to load fully. You may use your
              keyboard or mouse to enlarge the photos. After you have looked at a photo, press the
              forward arrow at the bottom of the page to continue.

         Then, each group of survey respondents was shown three photos of a different can for

 BANG's peach mango energy drink.

         Test Group Stimuli

         Test Group respondents were shown three photos of the actual can for BANG's peach

 mango energy drink. The ingredients "SUPER CREATINE®," "BCAA AMINOS," and "ULTRA

 COQ10" are prominently displayed at the top of the can for BANG's peach mango energy drink.

 The following statement appears on the side of the can: "Power up with BANG's potent brain &

 body-rocking fuel: Creatine, Caffeine, CoQ10 & BCAAs (Branched Chain Amino Acids)." The

 phrase "SUPER CREATINE® (Creatyl-L-Leucine [Creatine bonded to L-Leucine])" also is

 included in the list of ingredients on the can. Following are the three photos of the actual can for

 BANG's peach mango energy drink that were shown to Test Group respondents.9


 8   The email invitation sent to randomly-selected persons is included at the end of this appendix. Of the 6,540
     persons who responded to the email invitation, 5,912 did not qualify for the Jay Survey for the following reasons:
     a) they did not have access to a tablet, laptop or desktop computer (1,965 adults); b) they did not agree to complete
     the survey on their own (39 adults); c) they were not age 18 or older or their age or gender did not match the
     information in the panel database (251 adults); d) they did not accurately identify the order of the colors they were
     shown (58 adults); e) they did not indicate that they were likely to buy an energy drink in the next 3 months (3,557
     adults); f) they or a member of their household worked for a beverage company, or for an advertising agency or
     marketing research firm (41 adults); or g) they were unable to see the photos of the package (1 adult).
 9   Test Group respondents could use their keyboard or mouse to enlarge the photos.


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                                TEST PHOTO 1




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                                TEST PHOTO 2




 1048                        Jay Survey Strategics LLC            Appendix E‐7
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                                TEST PHOTO 3




 1048                        Jay Survey Strategics LLC            Appendix E‐8
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         Control Group Stimuli

         Control Group respondents were shown three photos of a modified can for BANG's

 peach mango energy drink. I understand that BANG's peach mango energy drink does not

 contain creatine, and it is not a significant source of BCAA aminos or ultra CoQ10 either. For

 this reason, the ingredients "SUPER CREATINE®," "BCAA AMINOS" and "ULTRA COQ10"

 were redacted from the top of the control can.

         I also understand that caffeine is the source of BANG's "brain and body rocking fuel"

 (not creatine, CoQ10 or BCAAs), and that although BANG does not contain creatine, it does

 contain Creatyl-L-Leucine. Therefore, the statement "Power up with BANG's potent brain &

 body-rocking fuel: Creatine, Caffeine, CoQ10 & BCAAs (Branched Chain Amino Acids)" on

 the side of the control can was replaced with what I understand to be a correct statement. The

 corrected statement was worded in the following manner: "Power up with BANG's potent brain

 & body-rocking fuel: Caffeine. Also contains Creatyl-L-Leucine, CoQ10 & BCAAs (Branched

 Chain Amino Acids)." Because I understand that BANG does not contain creatine (but does

 contain Creatyl-L-Leucine), the phrase "SUPER CREATINE® (Creatyl-L-Leucine [Creatine

 bonded to L-Leucine])" was replaced with the word "Creatyl-L-Leucine" in the list of ingredients

 on the can.

         Following are the three photos of the modified can for BANG's peach mango energy

 drink that were shown to Control Group respondents.10




 10 Control Group respondents could use their keyboard or mouse to enlarge the photos.


 1048                                      Jay Survey Strategics LLC                     Appendix E‐9
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                             CONTROL PHOTO 1




 1048                        Jay Survey Strategics LLC           Appendix E‐10
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                             CONTROL PHOTO 2




 1048                        Jay Survey Strategics LLC           Appendix E‐11
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                             CONTROL PHOTO 3




 1048                        Jay Survey Strategics LLC           Appendix E‐12
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         Control Group respondents were shown the modified can for BANG's peach mango

 energy drink to determine whether confusion in the Test Group regarding the source of BANG's

 energy boost, if any, was due to the language on the actual can regarding the ingredients in

 BANG or whether it was due to other reasons (such as, guessing and other sources of "noise.").

         After survey respondents were shown the photos of the actual or modified can for

 BANG's peach mango energy drink, they were asked the following question:

         (B4) Were you able to see the photos?

         Only those survey respondents who confirmed that they were able to see the photos were

 eligible to participate in the Jay Survey.

         Questions for Qualified Respondents

         Qualified survey respondents were told the following:

         (B5) Our next questions are about the product you just looked at. We would like to assure
              you that we are only interested in your opinions and beliefs. If you do not know the
              answer to a question or do not have an opinion or belief, please indicate this.

         Then, survey respondents were asked a general, open-ended question about the main

 messages or ideas conveyed by the package, sometimes called a "communication" question:11

         (C1) What, if anything, does this package mainly communicate to you about this product?

         Next, survey respondents were asked a directed question or "comprehension" question to

 determine whether they understood the product in the photos to be an energy drink:

         (C2) Do you think consuming this product…?#
               Will boost your energy
               Will not boost your energy
               Don't know

         The order of the first two response categories for this question was randomized across

 survey respondents. Survey respondents who said that consuming the product will boost their


 11 Survey respondents could refer back to the photos of the can they were shown when answering the survey
    questions.


 1048                                   Jay Survey Strategics LLC                         Appendix E‐13
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 energy were asked a "filter question" to determine whether they thought the package

 communicated what ingredients in the product will boost their energy:

        (C3) Do you think the package…?#
              Does communicate what ingredients in this product will boost your energy
              Does not communicate what ingredients in this product will boost your energy
              Don't know

        The order of the first two response categories for this question also was randomized

 across survey respondents. Survey respondents who said the package does communicate what

 ingredients in the product will boost their energy were asked one additional open-ended question

 concerning the ingredients in the product:

        (C4) What ingredient or ingredients in this product do you think will boost your energy?

        B. Survey Administration
        The Jay Survey was conducted between February 19, 2019 and March 8, 2019, and it was

 administered in a double-blind manner (neither the persons administering the survey, nor the

 survey respondents, were told the name of the sponsor of the survey, that the survey was intended

 to measure whether the information regarding the ingredients on the package for BANG's energy

 drink was misleading, or that the survey was being conducted in connection with litigation).

        The Jay Survey was performed according to accepted survey standards and in conformity

 with the guidelines discussed in the Federal Manual for Complex Litigation, 4th Ed. §11.493

 (2004) and the Reference Guide on Survey Research, Federal Reference Manual on Scientific

 Evidence, 3rd Ed. (2011). The population for the Jay Survey was properly defined as adults age

 18 and older who were prospective buyers of energy drinks. The questions asked in the Jay

 Survey were clear and not leading. The data gathered for the Jay Survey were accurately

 reported, and the data were analyzed in accordance with accepted statistical principles. The Jay

 Survey was conducted, under my direction, by survey research professionals following proper

 survey procedures, and the entire process was conducted so as to ensure objectivity.


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        C.        Characteristics of Adults Who Were Screened for Eligibility
        As shown in Table E-1, the demographic characteristics of the 6,540 adults screened for

 eligibility are similar to those of all persons who are age 18 and older in the U.S.

                                                        Table E‐1
                                Demographic Characteristics for All U.S. Persons Age 18+ and
                                   for Adults Screened for Eligibility for the Jay Survey*
                                                                            U.S. Persons       Adults Screened
                                                                              Age 18+           for Eligibility
                                                                                                 (n = 6,540)
         Region
               Northeast                                                       18%                  18%
               Midwest                                                         21                   21
               South                                                           38                   38
               West                                                            23                   23
         Gender
               Male                                                            49%                  49%
               Female                                                          51                   51
         Age
               18 to 29                                                        21%                  19%
               30 to 44                                                        25                   26
               45 to 64                                                        34                   33
               65+                                                             20                   22
         Race
               White                                                           64%                  67%
               Black                                                           12                   12
               Hispanic                                                        16                   13
               Other/Multiple                                                   8                    8
         Education
               High school or less                                             40%                  40%
               Some college (includes 2‐year degree)                           31                   31
               4‐year college graduate                                         18                   18
               Post‐graduate                                                   11                   11
        * Based on American Community Survey data collected by the U.S. Census Bureau and demographic
          information in the YouGov panel database.

        D.        Characteristics of Adults Who Qualified for the Jay Survey
        As shown in Table E-2, the 628 adults who qualified for the Jay Survey included a larger

 percentage of men and adults age 18 to 44, relative to all adults who are age 18 and older in the

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 U.S. This is because men and adults age 18 to 44 were more apt to be prospective buyers of

 energy drinks than were women and adults age 45 and older.

                                                        Table E‐2
                                Demographic Characteristics for All U.S. Persons Age 18+ and
                                      for Adults Who Qualified for the Jay Survey*
                                                                            U.S. Adults         Jay Survey
                                                                             Age 18+           Respondents
                                                                                                (n = 628)
         Region
               Northeast                                                       18%                18%
               Midwest                                                         21                 21
               South                                                           38                 36
               West                                                            23                 25
         Gender
               Male                                                            49%                59%
               Female                                                          51                 41
         Age
               18 to 29                                                        21%                24%
               30 to 44                                                        25                 36
               45 to 64                                                        34                 28
               65+                                                             20                 12
         Race
               White                                                           64%                70%
               Black                                                           12                  8
               Hispanic                                                        16                 12
               Other/Multiple                                                   8                 10
         Education
               High school or less                                             40%                33%
               Some college (includes 2‐year degree)                           31                 32
               4‐year college graduate                                         18                 23
               Post‐graduate                                                   11                 12
        * Based on American Community Survey data collected by the U.S. Census Bureau and demographic
          information in the YouGov panel database.

        E.        Characteristics of Test Group and Control Group
                  Respondents
        As shown in Table E-3, the demographic characteristics of the Test Group and Control

 Group respondents are similar.


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                                                      Table E‐3
          Demographic Characteristics for Jay Survey Respondents in the Test Group and the Control Group*
                                                                        Test Group        Control Group
                                                                       (Actual Can)       (Modified Can)
                                                                         (n = 314)           (n = 314)
         Region
               Northeast                                                   18%                18%
               Midwest                                                     24                 19
               South                                                       34                 38
               West                                                        24                 25
         Purchases of Energy Drinks
               Prospective buyer                                           100%              100%
               Past buyer                                                  86                 86
         Gender
               Male                                                        58%                61%
               Female                                                      42                 39
         Age
               18 to 29                                                    21%                26%
               30 to 44                                                    40                 33
               45 to 64                                                    28                 29
               65+                                                         11                 12
         Race
               White                                                       73%                68%
               Black                                                        7                  8
               Hispanic                                                    10                 14
               Other/Multiple                                              10                 10
         Education
               High school or less                                         33%                33%
               Some college (includes 2‐year degree)                       34                 31
               4‐year college graduate                                     21                 24
               Post‐graduate                                               12                 12
        * Based on demographic information in the YouGov panel database.

        Based on the overall design and execution of the Jay Survey, the survey provides

 representative and reliable information regarding adults age 18 and older who are prospective

 buyers of energy drinks.




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                              Email Invitation




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                                      Appendix F

                       Background Information on the
                           YouGov Online Panel




       YouGov Survey Procedures

       YouGov Answers to ESOMAR Questions




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                                                 Survey Procedures:
                                                 Information Related to the
                                                 Treatment of Human Subjects




     Updated on January 30, 2012




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    YOUGOV PANEL RECRUITMENT

    The YouGov panel, a proprietary opt-in survey panel, is comprised of 1.2 million U.S. residents
    who have agreed to participate in YouGov’s Web surveys. At any given time, YouGov maintains
    a minimum of five recruitment campaigns based on salient current events.

    Panel members are recruited by a number of methods to help ensure diversity in the panel
    population. Recruiting methods include Web advertising campaigns (public surveys), permission-
    based email campaigns, partner sponsored solicitations, telephone-to-Web recruitment (RDD
    based sampling, and mail-to-Web recruitment (voter registration based sampling).

    The primary method of recruitment for the YouGov panel is Web advertising campaigns that
    target respondents based on their keyword searches. In practice, a search in Google may
    prompt an active YouGov advertisement inviting their opinion on the search topic. At the
    conclusion of the short survey respondents are invited to join the YouGov panel in order to
    directly receive and participate in additional surveys. After a double opt-in procedure, where
    respondents must confirm their consent again by responding to an email, the database checks
    to ensure the newly recruited panelist is in fact new and that the address information provided
    is valid.

    Additionally, YouGov augments the panel with difficult to recruit respondents by soliciting
    panelists in telephone and mail surveys. For instance, in the fall and winter of 2006, YouGov
    completed telephone interviews using RDD sampling and invited respondents to join the online
    panel. Respondents provided a working email where they could receive an electronic invitation
    and confirm their consent and interest in receiving and participating in YouGov Web surveys.
    YouGov also employed registration based sampling, inviting respondents to complete a pre-
    election survey online. At the conclusion of that survey, respondents were invited to become
    YouGov members and receive additional survey invitations to their email address. YouGov also
    conducted telephone-to-Web recruitment in the fall and winter of 2010.

    By utilizing different modes of recruitment continuously over time, this ensures that hard-to-
    reach populations will be adequately represented in survey samples. Participants are not paid to
    join the YouGov panel, but do receive incentives through a loyalty program to take individual
    surveys.




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    YG PRIVACY AND CONSENT STATEMENT

    The information below is provided to each respondent when they provide their contact
    information and indicate they would like to receive survey invitations from YouGov.

    Consent Statement

    YouGov invites people to complete self-administered surveys via the web using a panel of
    respondents. Panelists are provided the privacy policy below when they voluntarily sign up and
    are provided a link to this with each study request. Specifically, each invitation states that their
    participation is voluntary and confidential.

    Our detailed privacy policy is elaborated at http://today.yougov.com/privacy/, see below.


    Privacy Policy
    Effective as of March 1, 2011.

    The most recent update to the privacy policy changed our company name from YouGovPolimetrix to
    YouGov. Some other clarifications of policy were also made.

    The YouGov website is operated by YouGov, a non-partisan polling firm headquartered in Palo Alto,
    California and one of the YouGov companies. YouGov is committed to answering important political and
    social questions and YouGov is designed to give people a chance to share their opinions about those
    important topics.

    The information our users provide is absolutely confidential. When a user registers for the panel, we ask a
    few basic questions to verify demographic information (e.g., age, gender, state). We do not sell or disclose
    this personal information to anyone at any time, except under limited conditions as specifically noted
    below, though we may report the information in aggregate form (e.g., "65 percent of those aged 55 and
    older reported a high level of interest in the president's State of the Union address.")

    About This Privacy Policy

    YouGov respects the privacy of all of its respondents. This Privacy Policy outlines what personally
    identifiable information is collected, how the information is used, with whom the information may be
    shared, and the security procedures in place to protect the loss, misuse, or alteration of information
    under our control. We reserve the right to modify this privacy statement at any time, so please review it
    frequently. If we make material changes to this policy, we will notify you here.




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    Non-Personal Information We Collect

    To register with YouGov, we require respondents to submit Personally Identifiable Information.
    Respondents are responsible for ensuring the accuracy of the Personally Identifiable Information they
    submit to YouGov.

    Without registration to the YouGov panel, the only information we may collect is Non-Personal
    Information through the use of Cookies or Web Beacons.

    As is true of most websites, we gather certain information automatically and store it in log files. This
    information includes internet protocol (IP) addresses, browser type, internet service provider (ISP),
    referring/exit pages, operating system, date/time stamp, and clickstream data. We use this information,
    which does not identify individual users, to analyze trends, administer the site, track users' movements
    around the site and gather demographic information about our user base as a whole.

    A. Cookies

    The information collected by Cookies allows us to monitor how many people are using our website, how
    many people open our e-mails, and determine for what purposes these actions are being taken. Cookies
    are also used to facilitate a user's log-in, as navigation aides, and as session timers, but not to retain
    Personal Information. Cookies used by YouGov are also used to restrict underage use of the tools. Most
    browsers offer instructions on how to reset the browser to reject Cookies in the "Help" section of the
    toolbar. We do not link Non-Personal Information from Cookies to Personally Identifiable Information
    without permission, and do not use Cookies to collect or store Personal Information.

    B. Web Beacons

    We also may use Web Beacons to collect Non-Personal Information about the use of our website. The
    information collected by Web Beacons allows us to monitor how many people are using our website, how
    many people open our e-mails, and determine for what purposes these actions are being taken. Our Web
    Beacons are not used to track activity outside of our websites. We do not link Non-Personal Information
    from Web Beacons to Personally Identifiable Information without permission and do not use Web
    Beacons to collect or store Personal Information.

    Personally Identifiable Information We Collect

    A. Registration

    We collect Personally Identifiable Information, such as name, mailing address and e-mail address, that our
    members provide to us when they register as YouGov panelists. We use the Personally Identifiable
    Information to gather opinions on important topics, answer questions, send e-mails about website
    maintenance and updates, place panelists in the correct regional and political jurisdictions (e.g. the
    correct congressional district or voting precinct), and inform panelists of significant changes to this Privacy
    Policy.

    B. E-mails You Send to YouGov

    This Privacy Policy does not protect you when you send content, business information, ideas, concepts or
    inventions to YouGov or YouGov by e-mail. If you want to keep content or business information, ideas,
    concepts or inventions private or proprietary, do not send them in an e-mail.


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    C. Children

    We are committed to protecting the privacy of children. YouGov is not designed or intended to attract
    children under the age of 18. We do not collect Personally Identifiable Information from any person we
    actually know is under the age of 14.

    D. Surveys – Personally Identifiable Information

    When participating in a survey, we may ask panelists to submit Personally Identifiable Information. This
    Personally Identifiable Information is used for research purposes, and is not used for sales solicitations.
    When a survey is sponsored by a third party, Aggregate Information of the survey results is reported to
    the sponsor. Personally Identifiable Information collected through surveys will be used only by YouGov
    and its operations contractors, and will not be given or sold to a third party without the panelist’s
    consent. You will never receive email from any third party as a result of using the YouGov site,
    participating in YouGov research activities or becoming a YouGov panel member, unless you specifically
    opt to do so.

    E. Surveys – Responses

    Aside from personally identifiable information, YouGov may, in the course of interacting with panel
    members, gather other types of information ("Operating Information"). YouGov panelists receive survey
    invitations periodically (weekly or monthly, for example) depending on their stated preferences. These
    surveys will ask questions about opinions and attitudes toward current affairs.

    Disclosure of Information

    Except as set forth in this Privacy Policy or as specifically agreed to by you, YouGov will not disclose any
    Personally Identifiable or Personal information gathered on our websites. We will only release Personally
    Identifiable or Personal information to third parties: (1) to comply with valid legal requirements such as a
    law, regulation, search warrant, subpoena or court order; (2) to reduce fraud or criminal activity; (3) to
    protect the legal rights of YouGov, our customers, our Websites, or the users of our Websites; (4) to allow
    a purchaser of a YouGov division, or YouGov as a whole, to continue using your information to serve you
    or as otherwise permitted by this Privacy Statement; or (5) in special cases, such as a physical threat to
    you or others. In the event that we are legally compelled to disclose Personally Identifiable or Personal
    information to a third party, we will attempt to notify you unless doing so would violate the law or court
    order. In addition, we may disclose Personal Information as described below.

    A. Aggregate Data

    YouGov may provide Aggregate Information to third parties. For example, we might inform third parties
    regarding the number of users of our website and the activities they conduct while on our site. We might
    also inform an interested policy group that "30% of our users live east of the Mississippi" or that "25% of
    our users have registered to vote online." Depending on the circumstances, we may or may not charge
    third parties for this Aggregate Information. We require parties with whom we share Aggregate
    Information to agree that they will not attempt to make this information personally identifiable, such as
    by combining it with other databases.




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    B. Disclosure to YouGov Operations and Maintenance Contractors

    YouGov operations and maintenance contractors sometimes have limited access to Personally Identifiable
    Information in the course of providing products or services to YouGov. These contractors include vendors
    and suppliers that provide us with technology, services, or external data or other content. Access to
    Personally Identifiable Information by these contractors is limited to the information reasonably
    necessary for the contractor to perform its limited function for YouGov. We also contractually require that
    our operations and maintenance contractors 1) protect the privacy of Personally Identifiable Information
    consistent with this Privacy Policy, and 2) not use or disclose Personally Identifiable Information for any
    purpose other than providing us with products and services.

    Data Security and Responsibility

    Your Personal Information, Demographic Information, and Operating Information will generally be stored
    in our YouGov databases, which are located in the United States. YouGov uses firewalls to protect
    information held in our servers, and requires all employees to abide by our Privacy Policy and be subject
    to disciplinary action if they violate it. YouGov also backs up our systems to protect the integrity of the
    Personally Identifiable and Personal information we collect.

    Despite our efforts to protect the Personally Identifiable Information and Personal information of our
    panelists, there is always some risk that an unauthorized third party may find a way around our security
    systems or that transmissions of information over the Internet will be intercepted. However, YouGov will
    always be vigilant in minimizing such risk to the best of our ability.




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    PROTECTION OF HUMAN SUBJECTS

    YouGov works with the Western IRB to ensure its research protocol and specific studies are
    consistent with Good Clinical Practices as defined under the U.S. Food and Drug Administration
    (FDA) regulations and the International Conference on Harmonisation (ICH) guidelines.

    Additionally, the YouGov research protocol has been reviewed and approved for Federalwide
    Assurance (FWA) by the Department of Health and Human Services (DHHS). The FWA number
    assigned to YouGov, Inc., is FWA00010960. YouGov’s FWA approval is listed on the Department
    of Health and Human Services website at http://ohrp.cit.nih.gov/search/search.aspx.
    Funding agencies may use this website to verify that YouGov holds an active OHRP-approved
    FWA. The expiration date for our FWA renewal is 10/13/2016.

    All members of the Scientific Research team have IRB training.

    HOSTING FACILITIES

    YouGov hosts its servers at the Equinix data center facility in Palo Alto (PAIX) which provides us
    with highly-available, high performance, mission critical Internet access. This facility has
    redundant backup power generators and uninterruptible power systems, along with high speed
    fiber links to multiple carriers. YouGov purchases ``clear-channel'' private Internet connectivity
    to avoid network congestion. In addition to multiple connections to the major Tier 1 Internet
    backbones like Level 3 and Williams Communications, our Web hosting facility also maintains
    fiber connectivity to InterNAP. InterNAP utilizes a proprietary network architecture and
    advanced routing technologies, which enables them to route data to and from destinations in a
    manner that minimizes the use of congested public exchanges and private peering points. This
    routing enables higher transmission speeds and lower instances of data packet loss. Our
    facilities are provisioned with the connectivity and dynamic bandwidth scalability needed to
    handle high-bandwidth applications, traffic spikes, and network outage issues. Access to the
    facility is by appointment, confirmed by credentials and secure passcode. The YouGov servers
    are housed in dedicated racks with locked doors that can only be accessed by authorized
    YouGov personnel. PAIX is SAS-70 certified.

    DATA SECURITY AND RESPONSIBILITY

    YouGov uses software-based firewalls, a DMZ, and multiple VLANs to secure external access to
    our servers and internal networks. Additional multi-layer software controls protect the integrity
    of the personally identifying and other confidential respondent information. Databases are
    backed up continuously; all other information is backed up daily. The back-up system has been
    documented and data retrievals from the back-up system have been tested for integrity.

    Access to confidential respondent information is limited to authorized users in the company's
    survey and information services groups and is password protected. Access rights can be
    changed at any time by the CTO and password security is strictly enforced. YouGov has not
    experienced any known security breaches since inception and regularly audits its security
    procedures.



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    YouGov Incentives

    YouGov manages an incentive program as a thank you for respondent participation. Survey
    respondents are awarded "PollingPoints" that are redeemable for the following small gifts:

        Points      Reward
        17,500      YouGov Tote Bag
        20,000      YouGov T-Shirt
        25,000      Restaurant.com $25 Gift Certificate
        30,000      Two Movie Tickets – AMC Theaters
        30,000      Two Movie Tickets – Regal Entertainment Group Theaters
        30,000      Two Movie Tickets – Cinemark Theaters
        35,000      Darden Restaurants $20 Gift Card
        45,000      Diningdough.com $25 Gift Certificate and 2 Fandango. com Movie Tickets
        50,000      Web Camera – Microsoft LifeCam VX
        60,000      Diningdough.com $50 Gift Certificate and 2 Fandango.com Movie Tickets
        70,000      Darden Restaurants $50 Gift Card
        80,000      iPod Shuffle
        100,000     $100


    Each panelist receives between 500 and 5,000 points to complete a survey. As a policy,
    panelists who are invited to a particular survey but then identified as ineligible are provided
    incentives to remove the motivation for falsifying information. In general, survey reward
    policies and incentives are intended to be unattractive to professional survey takers but serve as
    a genuine token of appreciation for YouGov panelists.




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    EXAMPLE OF YG SURVEY INVITATION




    Dear <NAME>,

    You have been selected to share your opinions in a new YouGov survey.

    To get started please click the button below. If you cannot view or click on the button, please copy and
    paste this address into your browser:

    <Survey link>

    <Start Now>

    We know your time is valuable, and as a way of showing our thanks, you will be awarded at least 500
    points when you complete this survey, and every emailed YouGov survey. The longer the survey, the more
    points you earn.

    Notice our new name and look? Although the PollingPoint name is gone, rest assured that the heart of
    PollingPoint remains at YouGov. Your current points remain the same, and you'll continue to earn points
    for new surveys the same as before.

    Thank for being an active member of the YouGov community!

    Kelly Connor

    YouGov

    For more information on YouGov visit http://today.yougov.com. If you have any questions please read our
    membership rules and Privacy Policy.


    To ensure reliable delivery please add help.us@yougov.com to your address book.


    This email was intended for <name>@yougov.com. YouGov does not send unsolicited emails. You received this
    message because you signed up to receive polls from us. If you received this message in error or no longer wish to
    participate, please use the following link to unsubscribe: https://isurvey-us.yougov.com/unsubscribe/


    Comments or concerns? Email help.us@yougov.com, or write to:


    YouGov • 285 Hamilton Avenue, Suite 200 • Palo Alto, CA 94301




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    FREQUENTLY ASKED QUESTIONS ON
    DATA SECURITY


       How do we prevent one person from completing surveys multiple times?
       Once a respondent completes a survey the "visa" assigned to that person is
       invalidated so the survey cannot be taken again.

       Who will be maintaining the YouGov web site/servers?
       YouGov staff maintains the servers and web sites.

       Who will have access to the data collected & back-up files?
       VP of Survey Operations and Statistical Analyst; Systems Administrators; and
       potentially the lead software developers under a need to know basis.

       Are the data stored while the respondent is answering questions or is that data only
       stored at the end when the survey is submitted?
       The answers are stored each time a user submits a page.

       How is confidentiality maintained during the transmission of data?
       No identifying personal information is transmitted while the survey is taken. The
       responses are identified only by an unique, coded "visa" that can be linked with
       the respondent's personal information only on the database server behind our
       firewall in a secure local zone.


       Does YouGov monitor web sites visitation and e-mails?
       Internet access to ports is firewall limited. Off-site e-mail access
       is over SSL connections. Security logs are monitored for inappropriate
       activity.

       When the subject submits their data to the web server information about the
       subject is of attached (IP address etc.); how will information be protected?
       Once acquired, respondents' data is only transmitted over internal
       networks behind firewalls or over encrypted VPN connections. Personally
       identifying information is not transmitted or stored together with survey answers.




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                          ESOMAR 28
                  28 QUESTIONS TO HELP
                 ONLINE RESEARCH BUYERS
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    The primary aim of these 28 Questions is to increase transparency and raise awareness of the
    key issues for researchers to consider when deciding whether an online sampling approach is fit
                                                                                                          CONTENTS
    for their purpose. Put another way, the aim is to help researchers to ensure that what they receive
    meets their expectations. The questions are also designed to introduce consistent terminology for
    providers to state how they maintain quality, to enable buyers to compare the services of different   Company profile                      4
    sample suppliers. Notes on the context of the questions explain why the questions should be
    asked and which issues researchers should expect to be covered in the answer.                         Sample sources and recruitment       5
    These new questions replace ESOMAR’s “26 Questions to help Research Buyers of                         Sampling and project management      7
    Online Samples”. ESOMAR has updated the text to recognize the ongoing development of
    techniques. While some of the questions remain constant, new questions have been added
    to incorporate new techniques and new technology in this area. In particular, this revision           Data quality and validation          12
    recognises the broad trend within the industry to build online samples from multiple sources
    rather than relying on a single panel.                                                                Policies and compliance              15
    It should be noted that these 28 Questions focus on the questions that need to be asked by those
    buying online samples. If the sample provider is also hosting the data collection you will need
                                                                                                          Guidance on professional standards   18
    to ask additional questions to ensure that your project is carried out in a way that satisfies your
    quality requirements.                                                                                 Project Team                         19
    The 28 Questions complement ESOMAR’s Guideline to Online Research which was revised in
    2011 to add updated legal and ethical guidance and new sections on privacy notices, cookies,
    downloadable technology, and interactive mobile.




2                                                                                                                                                   3
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     COMPANY PROFILE                                                                                               SAMPLE SOURCES AND RECRUITMENT

    1. What experience does your company have in providing online samples for                                     2. Please describe and explain the type(s) of online sample sources from which
       market research?                                                                                              you get respondents. Are these databases? Actively managed research
        Context: This answer might help you to form an opinion about the relevant experience of the sample
                                                                                                                     panels? Direct marketing lists? Social networks? Web intercept (also known as
        provider. How long has the sample provider been providing this service and do they have for example a        river) samples?
        market research, direct marketing or more technological background? Are the samples solely provided for
                                                                                                                      Context: The description of the types of sources a provider uses for delivering an online sample will provide
        third party research, or does the company also conduct proprietary work using their panels?
                                                                                                                      insight into the quality of the sample.
    YouGov is an international, full-service online market research agency offering custom research,
                                                                                                                  YouGov maintains a highly engaged panel of respondents who have specifically opted in to
    omnibus, field and tab services, qualitative research, syndicated products and market intelligence
                                                                                                                  participate in online research activities.
    reports. Our mission is to supply a continuous, live stream of data and insight into what people
    are thinking and doing all over the world, so that companies, governments and institutions can                The value of our panel, as opposed to many other types of online sample sources, lies in having
    better serve the people that sustain them.                                                                    continuous access to a responsive audience ready-profiled on important demographic, attitudinal
                                                                                                                  and lifestyle attributes. This enables us to execute a wide range of projects, from nationally
    Founded in the UK in 2000, YouGov is considered the pioneer of online market research. With
                                                                                                                  representative samples to re-contact surveys with hard-to-find audiences.
    our global panel of more than 3 million respondents, and offices in the United Kingdom, the
    United States, Europe and the Middle East, we offer our clients international results faster and
    more cost-effectively than traditional methods, with no compromise on quality.
                                                                                                                  3. If you provide samples from more than one source: How are the different sample
                                                                                                                     sources blended together to ensure validity? How can this be replicated over
                                                                                                                     time to provide reliability? How do you deal with the possibility of duplication of
                                                                                                                     respondents across sources?
                                                                                                                      Context: The variation in data coming from different sources has been well documented. Overlap between
                                                                                                                      different panel providers can be significant in some cases and de-duplication removes this source of error,
                                                                                                                      and frustration for respondents.

                                                                                                                  Due to the size and strength of our own panel, YouGov does not often require additional sample.
                                                                                                                  When we do include samples from external providers, it is only with the prior approval of our
                                                                                                                  clients, and we will only use pre-identified partners who work to our approved standards. In such
                                                                                                                  cases, our technology allows us to detect users taking the same survey with other providers, so
                                                                                                                  we can remove them from the data as required.




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    4. Are your sample source(s) used solely for market research? If not, what other                                           SAMPLING AND PROJECT MANAGEMENT
       purposes are they used for?
        Context: Combining respondents from sources set up primarily for different purposes (like direct marketing
        for example) may cause undesirable survey effects.                                                                    7. What steps do you take to achieve a representative sample of the target population?
    The YouGov panel is used solely for market research.                                                                           Context: The sampling processes (i.e. how individuals are selected or allocated from the sample
                                                                                                                                   sources) used are the main factor in sample provision. A systematic approach based on market research
                                                                                                                                   fundamentals may increase sample quality.

                                                                                                                              Using YouGov’s proprietary sampling technology, we begin by framing quotas based upon
    5. How do you source groups that may be hard to reach on the internet?                                                    the census or profile of the required population. This frame is the basis on which our sampling
        Context: Ensuring the inclusion of hard-to-reach groups on the internet (like ethnic minority groups, young           software controls the flow of members into each survey.
        people, seniors etc.) may increase population coverage and improve the quality of the sample provided.                Our sampling system will randomly select from our available panel, and allocate to surveys
                                                                                                                              according to the quotas set.
    YouGov actively recruits hard-to-reach respondents (such as younger people and those from
    ethnic minorities) via a network of partners with access to a wide range of online sources that
    cater to these groups. These sources have specific experience in recruiting these audiences for
    online activities.
                                                                                                                              8. Do you employ a survey router?
    These recruitment programmes include search engine optimization (SEO), affiliate networks,
    niche websites, and refer-a-friend programmes.                                                                                 Context: A survey router is a software system that allocates willing respondents to surveys for which they
                                                                                                                                   are likely to qualify. Respondents will have been directed to the router for different reasons, perhaps after
    All recruitment sources, for hard-to-reach audiences or anyone else, are monitored to ensure that                              not qualifying for another survey in which they had been directly invited to participate, or maybe as a result
    respondents are profiled, responsive, and engaged in the survey-taking experience.                                             of a general invitation from the router itself. There is no consensus at present about whether and how the
                                                                                                                                   use of a router affects the responses that individuals give to survey questions.

                                                                                                                              YouGov’s proprietary sampling software includes a router. This removes the potential for self-selection on
                                                                                                                              surveys, and increases our ability to deliver lower incidence samples within a short time frame.
    6. If, on a particular project, you need to supplement your sample(s) with sample(s)
       from other providers, how do you select those partners? Is it your policy to notify
       a client in advance when using a third party provider?
        Context: Many providers work with third parties.This means that the quality of the sample is also dependent on
        the quality of sample providers that the buyer did not select. Transparency is essential in this situation. Overlap
        between different providers can be significant in some cases and de-duplication removes this source of error,
        and frustration for respondents. Providers who observe process standards like the ISO standards are required
        to give you this information.

    As noted above, we rarely need to supplement our sample with that from other sources. On those
    occasions when external sample is required, we always notify the client so that they can take part
    in the decision about when and how to proceed with a different supplier.
    External sample partners are chosen by their ability to target hard-to-reach audiences, and by
    the quality and timeliness of their work. Our technology allows us to detect users taking the
    same survey with other providers, and thus avoid duplicate responders.




6                                                                                                                                                                                                                                                   7
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    9. If you use a router: Please describe the allocation process within your router.                                  12. What profiling data is held on respondents? How is it done? How does this differ
       How do you decide which surveys might be considered for a respondent? On                                             across sample sources? How is it kept up-to-date? If no relevant profiling data is
       what priority basis are respondents allocated to surveys?                                                            held, how are low incidence projects dealt with?
        Context: Biases of varying severity may arise from the prioritisation in choices of surveys to present to           Context: The usefulness to your project of pre-profiled information will depend on the precise question
        respondents and the method of allocation.                                                                           asked and may also depend on when it was asked. If real time profiling is used, what control do you have
                                                                                                                            over what question is actually asked?
    Panellists receive an invitation email containing a survey link. When they access the link the                      We collect over 500 data points on panellists through the initial opt-in process, in ongoing profiling
    router will check against quotas on all live surveys and allocate them to a survey for which they                   efforts, and from survey responses. Basic profile information is stored for all panellists, with less
    qualify. We can manually control prioritisation (for example to ensure that a particularly urgent                   frequently used attributes covered to varying degrees. Collection of this long tail of opinion and
    client survey can meet quotas in the necessary time frame), but allocation is predominantly                         behavioural data is typically driven by client demand.
    determined by the quotas defined in the frame for each survey.
                                                                                                                        Beyond this, we have a proprietary system that automatically updates panellist demographics
    If, following more detailed screening, a respondent doesn’t qualify for the survey to which they are                from survey data (typically every 3-6 months) depending on the relative frequency with which
    allocated they will be returned to the router and allocated to another survey.                                      particular data points are likely to change.


                                                                                                                        13. Please describe your survey invitation process. What is the proposition that people
    10. If you use a router: What measures do you take to guard against, or mitigate, any                                   are offered to take part in individual surveys? What information about the project
        bias arising from employing a router? How do you measure and report any bias?                                       itself is given in the process? Apart from direct invitations to specific surveys (or to
        Context: If Person A is allocated to Survey X on the basis of some characteristic then they may not be
                                                                                                                            a router), what other means of invitation to surveys are respondents exposed to?
        allowed to also do Survey Y. The sample for Survey Y is potentially biased by the absence of people like            You should note that not all invitations to participate take the form of emails.
        Person A.
                                                                                                                            Context: The type of proposition (and associated rewards) could influence the type of people who agree to
    In any case where we consider there could be a potential for bias resulting from use of a router,                       take part in specific projects and can therefore influence sample quality. The level of detail given about the
                                                                                                                            project may also influence response.
    we will revert to a manual invitation process. All surveys running on the router will have sampling
    controls on all variables likely to affect the results.                                                             In the majority of cases, respondents are emailed a generic survey invitation, whether invited
                                                                                                                        directly to a study or via a router. Once they are allocated to a particular survey and have passed
                                                                                                                        any additional screening, they are immediately informed of the topic, estimated length and their
                                                                                                                        reward for taking part.
    11. If you use a router: Who in your company sets the parameters of the router? Is it a
        dedicated team or individual project managers?                                                                  For qualitative studies respondents are given more information in the invitation itself on the topic
                                                                                                                        and nature of the survey, and the amount of time they will have to make available to participate.
        Context: It may be necessary to try to replicate your project in the future with as many of the parameters as
        possible set to the same values. How difficult or easy will this be?

    All parameters are set and controlled by the panel team within our Operations department. These
    are only changed following explicit consultation with all affected parties.




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     14. Please describe the incentives that respondents are offered for taking part in                                                                                                                                                 16. Do you measure respondent satisfaction? Is this information made available
         your surveys. How does this differ by sample source, by interview length, by                                                                                                                                                       to clients?
         respondent characteristics?                                                                                                                                                                                                        Context: Respondent satisfaction may be an indicator of willingness to take future surveys. Respondent
               Context: The reward or incentive system may impact on the reasons why people participate in a specific                                                                                                                       reactions to your survey from self-reported feedback or from an analysis of suspend points might be very
               project and these effects can cause bias to the sample.                                                                                                                                                                      valuable to help understand survey results.

     Panellists are typically motivated by two things:                                                                                                                                                                                  YouGov asks for satisfaction scores from every panellist at the end of a survey experience, both
                                                                                                                                                                                                                                        explicit (using five specific questions) and implicit (using response metadata). These data are
     •	
   Points	
   for	
   completing	
   a	
   survey	
   (i.e.,	
   rewards)                                                                                                                                         used internally to evaluate and improve the YouGov experience for panellists.
     •	
   Understanding	
   the	
   impact	
   of	
   their	
   contribution	
   (i.e.,	
   “having	
   their	
   say”)
                                                                                                                                                                                                                                        YouGov also carries out its own research on research, exploring in more detail what makes
     YouGov’s incentive programme is points-based. Point values are determined by survey length                                                                                                                                         for a good respondent experience, identifying drivers of – and developing solutions for –
     and are allocated upon survey completion. Respondents accumulate points for completing                                                                                                                                             respondent fatigue.
     surveys and are able to redeem these either for entries into prize draws with a wide range of
     prizes or towards a cash payment.
     In addition, we also share key survey results and actual data from selected surveys, and are
     constantly developing ways to enhance this feedback loop. Results are posted on the panellist                                                                                                                                      17. What information do you provide to debrief your client after the project
     areas of the website, and regular newsletters are used to highlight media coverage of YouGov                                                                                                                                           has finished?
     survey results.
                                                                                                                                                                                                                                            Context: One should expect a full sample provider debrief report, including gross sample, start rate,
                                                                                                                                                                                                                                            participation rate, drop-out rate, the invitation/contact text, a description of the field work process, and so
                                                                                                                                                                                                                                            on. Sample providers should be able to list the standard reports and metrics that they make available.
     15. What information about a project do you need in order to give an accurate estimate                                                                                                                                             Upon request, we will happily provide clients with disposition reports that contain email metrics
         of feasibility using your own resources?                                                                                                                                                                                       (such as start and completion rates, and so on), invitation examples, and any other details
                                                                                                                                                                                                                                        relating to the project fielding.
               Context: The “size” of any panel or source may not necessarily be an accurate indicator that your specific
               project can be completed or completed within your desired time frame.

     The information we need stems from the client’s requirements:
     •	
   	
   Who	
   do	
   they	
   wish	
   to	
   survey,	
   in	
   terms	
   of	
   demographics,	
   behaviours	
   and/or	
   attributes?	
   This	
   will	
   
             enable us to estimate incidence and develop quotas.
     •	
   	
   What	
   do	
   they	
   want	
   to	
   know?	
   This	
   will	
   enable	
   us	
   to	
   design	
   the	
   survey(s)	
   to	
   meet	
   their	
   needs	
   and	
   
             understand the length and nature of the survey(s) we will be running.
     •	
   	
   When	
   do	
   they	
   want	
   to	
   know	
   it?	
   Defining	
   an	
   end	
   date	
   will	
   allow	
   us	
   to	
   manage	
   the	
   client’s	
   
             survey(s) as part of the suite of fieldwork we are running, to ensure optimum response.




10                                                                                                                                                                                                                                                                                                                                                            11
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       DATA QUALITY AND VALIDATION                                                                                                                                     20. How often can the same individual take part in a survey within a specified
                                                                                                                                                                           period? How does this vary across your sample sources? How do you manage
                                                                                                                                                                           this	
   within	
   categories	
   and/or	
   time	
   periods?	
   
     18. Who is responsible for data quality checks? If it is you, do you have in place                                                                                    Context: Frequency of survey participation may increase the risk of undesirable conditioning effects or other
         procedures to reduce or eliminate undesired within survey behaviours, such as (a)                                                                                 potential biases.
         random responding, (b) Illogical or inconsistent responding, (c) overuse of item non-
                                                                                                                                                                       Controls are set on a study-by-study basis. We can control to whom invitations are sent based on
         response	
   (e.g.	
   “Don’t	
   Know”)	
   or	
   (d)	
   speeding	
   (too	
   rapid	
   survey	
   completion)?	
   Please	
      previous studies they have completed, and within whatever time frame is specified.
         describe these procedures.
               Context: The use of such procedures may increase the reliability and validity of the survey data.

     We have several techniques available to us to ensure that clients receive the highest quality data                                                                21. Do you maintain individual level data such as recent participation history, date
     on which to base analysis. Specifically, we have mechanisms to identify and remove:                                                                                   of entry, source, etc., on your survey respondents? Are you able to supply your
     •	
   Speeders	
                                                                                                                                                  client with a project analysis of such individual level data?
     •	
   Those	
   that	
   fail	
   trap	
   questions	
   
                                                                                                                                                                           Context: This type of data per respondent including how the total population is defined and how the sample
     •	
   Habitual	
   non-­responders	
                                                                                                                            was selected and drawn, may increase the possibilities for analysis of data quality.
     The suite of quality checks will be defined with the client at the start of a project to ensure they
     align with any existing quality standards. In addition to removing fraudulent responses from                                                                      Though not generally relevant to clients, we do store additional data on the effectiveness of
     the survey data, those panellists that fail these tests are marked in the database and ultimately                                                                 our recruiting partners. We can evaluate the quality of a source by understanding the longevity,
     removed from the panel should they turn out to be consistent offenders.                                                                                           response frequency, and participation history at an individual and source level.




     19. How often can the same individual be contacted to take part in a survey within a
         specified period whether they respond to the contact or not? How does this vary
         across your sample sources?
               Context: Over solicitation may have an impact on respondent engagement or on self-selection and non-
               response bias.

     On average, panellists complete a survey no more than once per week, a threshold that ensures
     continued engagement without over-burdening panellists with too many surveys.
     We monitor and control the number and frequency of invitations and completions both at an
     overall level and within subject areas.




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     22. Do you have a confirmation of respondent identity procedure? Do you have                                                                                        POLICIES AND COMPLIANCE
         procedures to detect fraudulent respondents? Please describe these procedures
         as	
   they	
   are	
   implemented	
   at	
   sample	
   source	
   registration	
   and/or	
   at	
   the	
   point	
   of	
   
         entry to a survey or router. If you offer B2B samples what are the procedures                                                                                 23. Please describe the ‘opt-in for market research’ processes for all your online
         there, if any?                                                                                                                                                    sample sources.
            Context: Confirmation of identity can increase quality by decreasing multiple entries, fraudulent panellists etc.                                                  Context: The opt-in process indicates the respondents’ relationship with the sample source provider. The
                                                                                                                                                                               market generally makes a distinction between single and double opt-in. Double opt-in refers to the process
     YouGov applies a number of checks to ensure the quality of survey data, including, for example,                                                                           by which a check is made to confirm that the person joining a panel or database wishes to be a member and
     trap questions that test panellist responses against pre-collected demographic data.                                                                                      understands what to expect (in advance of participating in an actual survey for a paying client).
     The suite of quality checks available allow us to detect fraudulent responses as well as duplicate
                                                                                                                                                                       YouGov uses a double opt-in procedure across all panels. At the point of the first opt-in panellists
     respondents, and where panellists fail quality checks they are marked in the database as suspect
                                                                                                                                                                       are asked to confirm they are happy to accept the Terms and Conditions of membership. Only
     and are removed from the panel if they turn out to be consistent offenders.
                                                                                                                                                                       once they’ve agreed to these will they be sent a confirmation email and a link to double opt-in and
                                                                                                                                                                       activate their panellist account.



                                                                                                                                                                       24. Please provide a link to your Privacy Policy. How is your Privacy Policy provided
                                                                                                                                                                           to your respondents?
                                                                                                                                                                               Context: Not complying with local and international privacy laws might mean the sample provider is
                                                                                                                                                                               operating illegally. An example privacy policy is given in the ESOMAR Guideline for Online Research.

                                                                                                                                                                       YouGov takes data protection and panellist privacy very seriously. Our Privacy Policy can be
                                                                                                                                                                       found	
   at	
   http://www.yougov.co.uk/privacy-­policy	
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14                                                                                                                                                                                                                                                                                                          15
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     25. Please describe the measures you take to ensure data protection and data security.                                                                                                   27. Are you certified to any specific quality system? If so, which one(s)?
             Context: The sample provider usually stores sensitive and confidential information on panellists and clients                                                                              Context: Being certified may require the supplier to perform tasks in a pre-determined manner and
             in databases. These data need to be properly secured and backed-up, as does any confidential information                                                                                  document procedures that should be followed.
             provided by the client. The sample provider should be able to provide you with the latest date at which their                                                                    YouGov’s third party data centre provider is certified to the following standards, providing industry-approved
             security has been evaluated by a credible third-party.                                                                                                                           protection to all YouGov data:
     All panellist data, personally identifiable or otherwise, is stored on UK-based servers that are                                                                                         •	
   ISO	
   9001:2008	
   
     maintained behind secure firewalls, IDS and Threat Management appliances and located in                                                                                                  •	
   ISO/IEC	
   27001:2005	
   
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   27001:2005).	
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   Industry	
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   British	
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   Council
     information is stored separately from all profile data as a means of further securing panellist data.
     Access to the data is limited to only those with direct responsibility for panel management and
     maintenance. In addition, all employees are required to abide by our Privacy Policy and are
     subject to disciplinary action if it is violated.                                                                                                                                        28. Do you conduct online surveys with children and young people? If so, do you
                                                                                                                                                                                                  adhere to the standards that ESOMAR provides? What other rules or standards,
                                                                                                                                                                                                  for example COPPA in the United States, do you comply with?
     26. What practices do you follow to decide whether online research should be used                                                                                                                 Context: The ICC/ESOMAR International Code requires special permissions for interviewing children.
         to present commercially sensitive client data or materials to survey respondents?                                                                                                             These are described in the ESOMAR Online Research Guideline. In the USA researchers must adhere
                                                                                                                                                                                                       to the requirements of the Children’s Online Privacy Act (COPPA). Further information on legislation and
             Context: There are no foolproof methods for protecting audio, video, still images or concept descriptions in                                                                              codes of practice can be found in Section 6 of ESOMAR’s Guideline for Online Research.
             online surveys. In today’s social media world, clients should be aware that the combination of technology
             solutions and respondent confidentiality agreements are “speed bumps” that mitigate but cannot guarantee                                                                         Panel registration is limited to those over 16 years of age, in line with MRS guidelines.
             that a client’s stimuli will not be shared or described in social media.                                                                                                         In cases where our research seeks to understand the views of those under the age of 16, YouGov seeks
                                                                                                                                                                                              permission from the parent or guardian when screening our own panellists, and ensure all contact is via the
     Though there are no flawless methods of protecting in-survey content, YouGov can offer both                                                                                              parent or guardian and that they are fully aware of the nature of the research at all times.
     general and specific protection to web-based client material. First, all YouGov panellists are
     subject to clear restrictions on the re-use of material by virtue of their agreement to our Terms
     and	
   Conditions	
   (see	
   http://yougov.co.uk/panel/terms-­and-­conditions/).	
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     general protection, YouGov can limit the lifetime of any link to audio, video and other content,
     such that it expires after a certain period of time, and cannot thereafter be accessed.




16                                                                                                                                                                                                                                                                                                                17
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       GUIDANCE ON PROFESSIONAL STANDARDS                                                                                                                                                                 PROJECT TEAM
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   Adam	
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   Chair	
   of	
   ESOMAR’s	
   Legal	
   and	
   Professional	
   Standards	
   Committees
     Maintaining consumer trust is integral to effective market, social and opinion research. ESOMAR through its                                                                                        •	
   Pete	
   Cape,	
   Global	
   Knowledge	
   Director,	
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   Editor	
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     codes and guidelines promotes the highest ethical and professional standards for researchers around the world.                                                                                     •	
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   Baker,	
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   Mike	
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     The	
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   COO,	
   Lightspeed	
   Research
     Chamber of Commerce, sets out global fundamentals for self-regulation for researchers. It has been undersigned
                                                                                                                                                                                                        •	
   George	
   Terhanian,	
   Chief	
   Strategy	
   and	
   Product	
   Officer,	
   Toluna	
   USA
     by all ESOMAR members and adopted or endorsed by more than 60 national market research associations
     worldwide.
     The ESOMAR Guideline on Guideline on Online Research is of particular relevance to researchers using online
     panels and should be read in conjunction with these questions for more explanation of the legal and professional
     responsibilities of researchers who are collecting and analysing online research data.
     In addition, ESOMAR has issued the following guidelines to provide more detailed advice on how to address the
     legal, ethical, and practical considerations of conducting specific areas of research:
     •	
   Guideline	
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   Social	
   media	
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   Guideline	
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     •	
   Guideline	
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   Guideline	
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   market	
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   ESOMAR/WAPOR	
   Guide	
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     There are also two ISO standards which relate to market research:
     ISO Standard 26362 – Access panels in market, opinion and social research - Vocabulary and service
     requirements
     ISO 20252 - Market, opinion and social research - Vocabulary and service requirements
     These documents contain useful definitions and explain process quality standards for access panels and
     research projects. They explain good practice and the information that should be provided to clients. They can be
     purchased	
   from	
   the	
   International	
   Standards	
   Organisation	
   http://www.iso.org/iso/home.html	
   
     ESOMAR – World Association for Social, Opinion and Market Research
     Eurocenter 2,11th Floor
     Barbara Strozzilaan 384
     1083 HN Amsterdam
     The Netherlands
     Tel: +31 20 664 2141
     www.esomar.org
     For more information contact professional.standards@esomar.org




18                                                                                                                                                                                                                                                                                                                                                   19
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  E info@yougov.com
  W yougov.com
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                                      Appendix G

    What the Package Mainly Communicates About the Product
                        (Question C1)
                            Base: All Test Group Respondents




    C1. What, if anything, does this package mainly communicate to you about this product?




  1048                             Jay Survey Strategics LLC                      Appendix G
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  ID          Ver. C1.
  386749007    A   The packaging features advertisement of the lack of sugar. In place of
                   sugar is sucralose, which is not broken down by the body, and can cause
                   problems in the blood. I did not find the caffeine content anywhere except
                   a small warning box on the back. An energy drink, Spider Energy, contains
                   240 mg – 60mg less than this brand – yet it shows the amount on the top
                   of the can.
  432335892    A   It's an energy supplement drink.
  440277519    A   That it doesn't make you crash like your other energy drinks.
  440489718    A   A low‐calorie energy boost.
  440510468    A   It's a caffeine drink with 0 calories.
  440575165    A   That it's a high‐energy drink with lots of vitamins.
  440623644    A   This is not like ordinary high‐sugar energy drinks that make you crash. No
                   sugar. High caffeine. Contains creatine.
  440634319    A   It seems to be healthier than other sodas or energy drinks.
  440655053    A   The new drink, 0 calories.
  440672486    A   Bang.
  440679920    A   It's a caffeine drink, and not a high‐sugar drink.
  440718606    A   Bang is a healthy energy drink.
  440720485    A   A different type of energy drink with lots of caffeine in it.
  440720511    A   It's an energy drink.
  440720570    A   I liked the flavor, mango. I liked the back saying about sugar. I'd buy it
                   because I have recently started consuming less sugar.
  440720822    A   It's like an energy drink without the "harmful" ingredients. No caffeine, but
                   a whole lot of extra supplements which in my opinion may or may not be
                   harmful to the human body.
  440720871    A   This is a drink for body and brain fuel/energy.
  440720931    A   That it is a better option for an energy drink.
  440720978    A   Not a sugar drink. Has high energy with no calories.
  440726449    A   No sugar, max caffeine, no sugar crash.
  440726525    A   Natural.
  440726637    A   Lack of sugar in an energy drink.
  440726924    A   Vitamin‐packed energy for your brain.
  440729927    A   Nutrition facts.
  440731889    A   The brand and ingredients.
  440732089    A   Don't like the name.
  440732342    A   Zero‐calorie, high‐potency energy drink with creatine and COQ10. Natural
                   flavors.
  440732570    A   Energy drink.


  1048                           Jay Survey Strategics LLC                        Appendix G‐1
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                                    #:863



  ID          Ver.   C1.
  440732868    A     Tasty.
  440755069    A     0 calories. Peach mango flavor.
  440762528    A     Energy/health drink.
  440762709    A     That this product is not your typical energy drink filled with junk. It has no
                     sugar and can really give you a boost. There are some great things in it.
  440769992    A     It's a brain and body energy drink, not safe for anyone under 18 or for
                     anyone who has a medical condition and/or takes prescription drugs.
  440780322    A     High energy, zero calories.
  440780633    A     A quick energy burst.
  440784082    A     This communicates that it is a healthier option for an energy drink.
  440793431    A     No calories, no sugar, vitamins and minerals that give you energy.
  440797504    A     Don't know.
  440859304    A     Brain and body energy.
  440882486    A     That Bang is a zero‐sugar, zero‐calorie product that contains a good
                     amount of caffeine and creatine.
  440891973    A     This shouldn't cause energy crashes like other similar products do, if it
                     works as advertised.
  440895550    A     Energy.
  440896657    A     It's an energy drink.
  440903663    A     It's a good product.
  440908581    A     It is not your ordinary energy drink. It uses better ingredients to boost
                     energy and doesn't cause a crash. It is a boost to your brain, not just your
                     body.
  440924044    A     Practically a caffeine overdose.
  440928966    A     It's a beverage, but not your average energy drink, zero calories.
  440929046    A     That this is an energy drink that is healthier than others, with no calories,
                     no carbs, etc.
  440950569    A     High energy without sugar.
  440971599    A     It's for energy, but less calories and sugar than traditional energy drinks.
  440981441    A     The package communicates that the product fuels the body.
  441017279    A     It's a very potent energy drink.
  441059750    A     It is supposed to be a much better alternative to the current sugar‐filled
                     energy drinks on the market. The can focuses on its benefits and its
                     competition at the same time.
  441086296    A     That it's sugar‐free, contains caffeine, and has B vitamins and C.
  441094590    A     That it is an energy drink not loaded with sugar and carbs like typical
                     energy drinks. It relies on caffeine and amino acids to help give you a great
                     natural energy fix.


  1048                              Jay Survey Strategics LLC                        Appendix G‐2
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                                    #:864



  ID          Ver.   C1.
  441100635    A     Energy without sugar.
  441141914    A     Energy drink.
  441141987    A     Bang.
  441145612    A     Free energy in a can.
  441159015    A     It asserts that high sugar energy drinks actually cause metabolic changes
                     that can lead to less energy.
  441167267    A     Energy.
  441167318    A     0% of everything.
  441167604    A     It's a no‐calorie drink with no sugar. It's trying to put itself aside of most
                     drinks.
  441172553    A     It's an energy drink.
  441177407    A     0 calorie energy drink.
  441181762    A     It's an energy drink, and to be cautious when drinking it.
  441189642    A     It states that it contains better ingredients then most other energy drinks.
  441189964    A     This product stands out and caught my attention.
  441193235    A     It's sugar‐ and calorie‐free energy that's better for the body because it
                     doesn't have sugar.
  441199829    A     Don't know.
  441200002    A     A natural energy drink that contains caffeine, but not excessive sugar.
  441200888    A     Energize drink.
  441204848    A     Unlike other energy drinks, this one doesn't contain high levels of sugar.
  441210579    A     It is a zero‐calorie energy drink.
  441211859    A     It is an energy drink.
  441231118    A     Energy drink.
  441258550    A     Peach mango.
  441262193    A     Energy‐providing.
  441268692    A     That it is not a high‐sugar energy drink, but a vitamin‐enhanced one.
  441274436    A     Energy drink.
  441278370    A     That it is a product that does not contain added sugars, so you can feel
                     good about drinking, not like a regular sugar soda.
  441331316    A     An energy drink.
  441335218    A     Good product, energetic.
  441339382    A     Don't know.
  441367727    A     Bang Energy.
  441367862    A     Sugar free, but not to take if you're taking prescriptions.
  441368675    A     Energy drink with no sugar, zero carbs, with creatine.
  441372680    A     A new energy drink.

  1048                              Jay Survey Strategics LLC                         Appendix G‐3
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                                    #:865



  ID          Ver.   C1.
  441378240    A     Calorie‐free, sugar‐free energy drink.
  441381908    A     Which is a product that gives energy.
  441382916    A     It is different from other energy drinks and is supposed to be healthier.
  441383650    A     A new brand with nice flavors.
  441386654    A     It is an energy drink.
  441439304    A     It doesn't bring you down like other energy drinks.
  441454251    A     It's a low‐calorie energy drink.
  441463361    A     Don't know.
  441463548    A     That it's a sports energy drink.
  441507883    A     Don't know.
  441531014    A     That it will give you energy without all the sugars and crashing, and help
                     your brain.
  441548997    A     That it's different than your regular energy drink.
  441549080    A     The product has caffeine in it.
  441551593    A     That it does not contain sugar like other energy drinks.
  441578578    A     Good taste and no calories.
  441582484    A     The product seemed very masculine.
  441589489    A     No sugar.
  441635920    A     I like that it has no carbs.
  441647491    A     No calories.
  441690029    A     Healthier than other energy drinks.
  441719783    A     Body fuel.
  441745897    A     It's very masculine, Monster Energy‐ish. A lot of artificial‐sounding
                     ingredients. Probably tastes like cough syrup.
  441746470    A     No sugars.
  441870069    A     That it's an energy drink that doesn't have high sugars for the after‐crash
                     like most energy drinks.
  441898284    A     It's a protein drink.
  442049943    A     That it's an energy drink.
  442066616    A     There are very few ingredients.
  442099237    A     A boost.
  442152074    A     Don't know.
  442156112    A     Great energy – will help – flavor.
  442209590    A     Brain and body fuel.
  442223552    A     Low sugar, high energy drink.
  442224260    A     Related nutrients.


  1048                             Jay Survey Strategics LLC                        Appendix G‐4
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                                    #:866



  ID          Ver.   C1.
  442229980    A     Energy drink, no sugar, vitamins.
  442243357    A     It's like a Red Bull energy drink.
  442253926    A     It's an energy drink. It's hardcore.
  442260210    A     That the product was an energy drink that contained creatine with no
                     sugars.
  442274772    A     That because of my health issues, I should not purchase it.
  442300737    A     It is healthier.
  442300759    A     It appears to be an energy drink that also appears to be a sugar‐free
                     option.
  442304269    A     Don't know.
  442304779    A     Energy. Brain.
  442308114    A     The flavor is a Bang! It's peach mango.
  442318348    A     This is not your average energy drink.
  442318440    A     A new and natural alternative to energy drinks, coffee and tea. It seems
                     that the main theme is the caffeine content.
  442321626    A     That it is not a typical sugar energy drink that will cause someone to crash
                     shortly after drinking.
  442322533    A     Other energy drinks are frauds and trying to kill you. Also, Bang is from the
                     '90s, because it is EXTREME.
  442322610    A     Gives me information about what's in the can.
  442323084    A     You should only use it if you are a healthy individual.
  442326673    A     Not like other drinks.
  442327357    A     That it is better than sugar energy drinks.
  442331806    A     Energy drink.
  442335767    A     It's an energy drink that provides energy for the body and brain.
  442340912    A     Zero calories.
  442349002    A     Energy drink, high caffeine, do not use if on medical regime.
  442353243    A     No sugar, lots of caffeine.
  442353415    A     Granting energy to the body and brain.
  442353721    A     Good for the brain and energy.
  442353919    A     It is an energy drink.
  442361339    A     It's mango.
  442365404    A     Healthy.
  442365619    A     It is a safe product – healthy, great taste.
  442373125    A     It's an energy drink.
  442386778    A     Don't know.



  1048                             Jay Survey Strategics LLC                         Appendix G‐5
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  ID          Ver. C1.
  442390626    A That it is healthier than most energy drinks. I particularly noticed it did not
                   contain aspartame, which is a huge improvement already over almost all
                   other sugar‐free energy drinks.
  442411553    A Gives energy.
  442433427    A Energy drink.
  442433605    A It sounds a bit "try‐hard" in its description of itself. Low in sugar, which is
                   good. It sounds like this would be a good pre‐workout beverage, but not
                   sure I'd buy this one because of the flavor. It just doesn't sound good to
                   me.
  442442305    A No sugar, so no crash. It's meant to give you better energy than other
                   energy drinks and sodas.
  442479456    A It's an energy drink made by the same company that makes Redline. Good
                   workout supplement.
  442488784    A That it has zero calories, zero sugar, and zero carbs.
  442503202    A It isn't a product that uses sugar to give you energy.
  442503560    A It's a sugar‐free energy drink.
  442508696    A Strong.
  442517489    A That this is a potent brain‐focusing and body‐energizing product.
  442517681    A Energy drink.
  442518008    A It is a zero‐calorie energy drink with a lot of caffeine called Bang.
  442522075    A Full of vitamins.
  442526720    A That it's yet another unhealthy energy drink attempting to use fancy
                   marketing images and words in an attempt to portray the drink in a
                   healthier image.
  442531060    A Don't know.
  442531265    A An energy drink with no calories.
  442531317    A Don't know.
  442531571    A Bang.
  442535559    A 0 sugars, so you don't crash and burn like other sugar energy drinks.
  442537315    A That it's an energy drink that can get me through the day.
  442546411    A Energy without a crash. BANG!
  442565930    A It's an energy drink that also promotes a workout, since it has creatine
                   added.
  442579874    A The great flavor.
  442580009    A It's strong‐flavored and bold.
  442583397    A An energy drink that draws attention for the packaging and active
                   ingredients.
  442588892    A Don't know.


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  ID          Ver.   C1.
  442601040    A     That it has no sugar and good ingredients.
  442627950    A     A zero‐calorie energy drink.
  442673862    A     Energy drink, but no crash.
  442685709    A     Don't know.
  442720368    A     A high‐octane energy drink with natural flavors.
  442730781    A     It is an energy drink.
  442732424    A     Sugar‐free, calorie‐free, no carbs. Caffeine should only be used by healthy
                     individuals.
  442737061    A     Not your typical energy drink.
  442737761    A     That this drink is a strong energy drink, with how much caffeine and
                     energy supplements are in it.
  442760101    A     Energy drink.
  442768136    A     Better than other energy drinks.
  442769703    A     Has no sugar, no carbs, and does not make you crash.
  442775616    A     That it is targeted to a certain subset of the population, perhaps weight‐
                     lifters or gamers. The packaging is really reminiscent of Monster energy
                     drinks – very male, very aggressive.
  442776258    A     It's a healthy energy drink.
  442776936    A     High energy drink, no nutrient value.
  442777724    A     Don't know.
  442797335    A     Don't know.
  442808096    A     That it is a carbonated energy drink.
  442811760    A     A natural energy drink, but it warns you not to take it if you take any
                     prescription medication.
  442812309    A     It is an energy drink with a lot of caffeine in it and some stuff that may be
                     healthy.
  442815399    A     Please buy us!!! We'll keep you up for hours. Be careful, though – we can
                     be potentially hazardous with how much caffeine we contain!!! Don't have
                     a heart‐attack by overdosing on our beverage.
  442816175    A     That Bang is good for energy.
  442820355    A     That most energy drinks have sugar and make you crash.
  442839018    A     Energy drink.
  442874947    A     That it's made with creatine and is high in caffeine.
  442888158    A     0 calories.
  442909566    A     For brain fuel.
  442909942    A     Way more caffeine than I could ever tolerate.
  442918989    A     A potent energy supplement.


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  ID          Ver. C1.
  442928241    A That it's not like most energy drinks that are more like soda and full of
                   sugar.
  442931318    A Don't know.
  442936669    A Energy provider.
  442956181    A It is a different energy drink.
  442967451    A It's not like normal energy drinks. It doesn't spike your blood sugar.
  442988795    A Bang – excellent. Peach mango.
  442999308    A It's an energy drink that doesn't use sugar as an ingredient.
  442999323    A Low sugar, and Bang is an awesome drink.
  443045507    A This product is available in mango flavor.
  443070357    A High vitamins, 0 calories.
  443079204    A It is a complete energizer and full of energy.
  443079707    A Very good for you, no fat or added.
  443085749    A It is a "better for you" energy drink. No carbs, no calories and no crash.
  443093245    A It's similar to a sports drink. Has 0 fat and cholesterol.
  443155754    A No crashing.
  443163114    A It's a good energy drink.
  443171226    A Looks like a 21‐or‐over drink.
  443185185    A Don't know.
  443195811    A Lot of sugar.
  443280778    A 300mg caffeine, added nutrients, no sugar, no calories.
  443310524    A An energy drink with no carbs and artificial flavors.
  443316304    A A no‐sugar energy drink.
  443326408    A Healthy energy drink. Not just sugar and caffeine – brain food.
  443334223    A Don't know.
  443349395    A Some kind of creatine super‐drink.
  443349442    A I like it.
  443361204    A You can have a different and unique type of soda called Bang that has no
                   sugar, and has vitamins that are very nutritious.
  443370809    A Energetic design.
  443370914    A Energy boosting, zero sugar, natural energy boost.
  443384130    A Bang.
  443391462    A It is well‐noted that this particular brand of energy drink, Bang, is very
                   different to Monster or Red Bull or any other energy drink out there. This
                   company is focused on giving the public an energy drink that will not cause
                   a very hard crash at the end of the day.
  443397668    A It increases brain health and energy.

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  ID          Ver.   C1.
  443425794    A     It is a potent brain and body food.
  443436579    A     Don't know.
  443457985    A     Healthier than other energy drinks.
  443472520    A     It has no sugar and is better for you.
  443472684    A     A nice quality product.
  443483266    A     It's a full body‐support energy drink.
  443496817    A     Just a drink.
  443507154    A     Don't know.
  443535148    A     Trying to sell the product.
  443558752    A     Energy without the pitfalls.
  443627005    A     Don't know.
  443650920    A     Nutrients and ingredients.
  443652287    A     What is contained in the drink.
  443654827    A     An energy drink.
  443663464    A     That this is an energy drink with zero calories and zero sugars, but high in
                     vitamins and caffeine.
  443729157    A     An energy drink that is not like the others already on the market.
  443730401    A     This is a product of energy drinks, and I think it is very good, because it
                     does not have much heat and helps you to keep warm during the day, and
                     it is not very strong. It seems very good.
  443742712    A     Don't know.
  443751700    A     Supposed to help the body. Energized with caffeine.
  443777719    A     That this is a protein and creatine product with vitamins and no sugar.
  443790479    A     A low‐calorie energy drink, high on caffeine.
  443790692    A     This is an energy drink with fruit flavors and body wellness properties.
  443790982    A     Hardcore energy drink.
  443795546    A     It's a healthy option to other energy drinks.
  443795990    A     The name. It's a fairly bold can, too.
  443797609    A     Powerful balancing fuel for the body.
  443799303    A     It's easy to understand.
  443802694    A     It's a high‐caffeine, creatine‐containing energy drink that's different from
                     your usual energy drink.
  443805108    A     Looks like an energy drink I would try.
  443808440    A     That it is a zero‐calorie, zero‐sugar energy drink.
  443810536    A     Nothing outstanding.
  443810737    A     It's an energy drink trying to separate itself from the pack.
  443814471    A     No.

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  ID          Ver.   C1.
  443814927    A     An energy drink with creatine.
  443818211    A     Bang is a protein drink and body boost.
  443828443    A     Good advertising.
  443830002    A     That's it's an energy drink in a y'all can.
  443834991    A     An energy drink without the sugar.
  443835174    A     Energy without any sugar spike.
  443838487    A     I like that it is no sugar, no carbs.
  443841720    A     That it is not loaded with sugars like other energy drinks.
  443843042    A     Don't know.
  443845845    A     A brain and body fuel.
  443845971    A     It's unique and different.
  443846425    A     That it's an energy drink, but different from the one we have now. It has
                     no calories or fat and sugar, and it's healthy to drink.
  443856274    A     An energy drink that isn't just a high‐sugar soda.
  443862108    A     Another con.
  443875472    A     It's not the usual energy drink.
  443886929    A     It's got the right vitamins that an energy drink should have.
  443887304    A     This package is mainly saying this product is an energy booster – low
                     calories, no artificial ingredients, and no sugar added.
  443935883    A     The name and what it's supposed to do.
  443938413    A     Sugar‐free energy drink. It's healthier.
  443944606    A     An energy drink. Lots of caffeine, no sugar.
  443945014    A     Zero‐sugar, no‐carb intense energy drink.
  443947909    A     Bang, an energy drink with no energy drink? No calories, but an energy
                     drink for the brain.
  443952254    A     Sugar‐free, healthier than an average energy drink, and packed with
                     ingredients to power your body.
  443953379    A     It has sucralose in it.
  443968584    A     Don't know.
  443971477    A     O calories, 0 sugar, but high caffeine.
  443971801    A     A no‐sugar energy drink with 25% of the daily supply of B6 and B12
                     vitamins and caffeine. Fruit‐flavored.
  443981340    A     That it's a high energy drink that doesn't have any sugar in it.
  443986403    A     It is an energy drink that has natural benefits and doesn't cause crashes in
                     energy. However, it is high in caffeine.
  443989679    A     It's healthier.
  444015932    A     The calories, type of product, and purpose of product.


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  ID          Ver.   C1.
  444019199    A     It gives you energy.
  444025401    A     Don't know.
  444074344    A     That it provides enough caffeine as two cups of coffee. It has no sugar, so
                     there's no sugar high, then sugar crash.
  444078729    A     Energy drink diet.
  444082003    A     That it is an energy drink. Peach‐mango.
  444083010    A     An energy drink.
  444084047    A     It is an energy drink.
  444100160    A     Bang energy.
  444115379    A     Awesome Bang energy.
  444118817    A     Energy.




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         What Ingredients in the Product Will Boost Your Energy
                              (Question C4)
      Base: Test Group Respondents Who Said the Package Does Communicate What
                    Ingredients Will Boost Your Energy in Question C3




      C4. What ingredient or ingredients in this product do you think will boost your energy?




  *   An asterisk indicates that this survey respondent mentioned "creatine."
  +   A plus sign indicates that this survey respondent mentioned "super creatine."

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  ID           Ver. C4.
  386749007     A   Caffeine. It's a cruddy energy boost, since it's extremely high and a lot of
                    people will not be able to drink this without having major heartache. I do
                    not agree with this product being a drink for energy.
  432335892     A   BCAAs, caffeine, a proprietary mixture of supplements.
  440277519     A   BCAA aminos.
  440510468     A   Caffeine.
  440575165*    A   Caffeine, vitamins, creatine.
  440623644*    A   Caffeine, creatine, amino acids.
  440655053     A   Low calories – 0.
  440718606*    A   Creatine, vitamins.
  440720485*    A   Caffeine, assorted vitamins B, and creatine.
  440720570     A   Caffeine.
  440720871     A   Caffeine.
  440720931     A   Caffeine.
  440720978     A   Mainly all the vitamins and minerals that the drink contains.
  440726449     A   Caffeine, amino acids.
  440726525     A   Caffeine.
  440726924*    A   CoQ10, creatine, caffeine.
  440729927     A   Don't know.
  440731889*    A   Creatine, caffeine, and BCAAs.
  440732342*    A   Caffeine, CoQ10, creatine.
  440732570     A   Caffeine.
  440732868     A   Caffeine.
  440762528     A   Don't know.
  440762709     A   It has CoQ10.
  440769992*    A   Primarily caffeine and creatine.
  440780322*    A   Caffeine, creatine, CoQ10, BCAAs.
  440780633     A   Since there is no sugar, I assume caffeine.
  440784082     A   The caffeine and vitamins will boost your energy as well as the sugar.
  440859304     A   Mango.
  440882486*    A   Caffeine and creatine.
  440895550     A   Caffeine.
  440896657     A   Caffeine.
  440903663     A   Vitamins.
  440908581*    A   Caffeine, B vitamins, creatine.
  440924044     A   Caffeine.


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  ID           Ver.   C4.
  440929046*    A     Caffeine, creatine.
  440950569     A     Caffeine.
  440971599*    A     Creatine and caffeine.
  440981441     A     It includes peach and mango.
  441017279     A     Caffeine.
  441059750     A     Caffeine, mainly.
  441086296     A     The 300 mg of caffeine.
  441094590     A     Caffeine and amino acids.
  441100635*    A     Caffeine, creatine, BCAAs.
  441141987     A     Vitamin C.
  441145612*    A     Creatine, caffeine and CoQ10.
  441159015     A     Caffeine, BCAAs.
  441167267     A     Sugar.
  441167318     A     The image itself.
  441172553     A     Caffeine, BCAAs.
  441177407     A     The B vitamins and caffeine.
  441181762     A     Caffeine.
  441189642*    A     The caffeine and creatine.
  441189964     A     Low on calories and no sugar.
  441199829     A     The B vitamins.
  441200002     A     Caffeine.
  441200888*    A     Creatine.
  441204848*    A     Creatine, CoQ10.
  441210579     A     Caffeine.
  441262193     A     Caffeine.
  441268692*    A     Creatine, caffeine and B vitamins.
  441274436     A     Calories.
  441278370     A     Caffeine.
  441331316     A     Caffeine.
  441335218     A     Sodium, potassium, magnesium, vitamin C, vitamin B6, vitamin B12.
  441339382     A     Don't know.
  441367727     A     B12 and caffeine.
  441368675*    A     Caffeine, creatine.
  441372680     A     Don't know.
  441378240     A     Caffeine. I don't believe any of that other crap (CoQ10, amino acids, etc.)
                      does anything.


  1048                              Jay Survey Strategics LLC                        Appendix H‐2
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  ID           Ver.   C4.
  441381908*    A     Creatine and caffeine, CoQ10 and amino acids.
  441382916*    A     Caffeine, creatine.
  441383650     A     Don't know.
  441386654     A     Caffeine.
  441439304     A     Caffeine.
  441454251     A     It's low calorie.
  441463548*    A     Creatine, caffeine, CoQ10, BCAAs.
  441531014     A     Sugar and caffeine.
  441548997*    A     Caffeine, creatine.
  441549080     A     The caffeine and sucralose.
  441551593     A     Caffeine.
  441582484*    A     Creatine.
  441589489*    A     Creatine.
  441635920+    A     Super creatine.
  441647491     A     Don't know.
  441690029*    A     Caffeine, B vitamins, CoQ10, creatine.
  441719783*    A     Creatine, caffeine.
  441745897     A     Caffeine? And I guess maybe the amino acids? It's way too much caffeine
                      for me, I couldn't drink this.
  441746470*    A     Creatine, caffeine.
  441870069     A     The caffeine is what gives you that boost.
  441898284*    A     Creatine.
  442049943     A     Caffeine.
  442066616     A     Caffeine.
  442099237     A     A boost.
  442152074     A     Don't know.
  442156112     A     Vitamin C, sugar.
  442223552     A     Vitamins B12 and B6.
  442224260     A     Don't know.
  442229980     A     Vitamins B12 and B6.
  442253926     A     Caffeine.
  442260210*    A     The label suggests that the energy boost comes from creatine, caffeine,
                      CoQ10 and BCAAs.
  442274772     A     Vitamin B12 and caffeine.
  442300737     A     Caffeine.



  1048                             Jay Survey Strategics LLC                      Appendix H‐3
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  ID           Ver. C4.
  442300759*    A If the words are to be correct, there is caffeine, creatine, and CoQ10. I
                    assume that those are all things that will boost alertness and help to keep
                    you in that state for a period of time, thus giving the desired effect of
                    perceived energy.
  442304269     A Don't know.
  442304779*    A Creatine.
  442308114     A Don't know.
  442318348     A Sugar.
  442318440     A Caffeine, vitamin B and other natural ingredients are listed. They are the
                    same as an energy drink, but with less than half of their ingredients.
  442321626*    A Creatine, caffeine, branched chain amino acids, CoQ10.
  442323084     A Caffeine.
  442327357     A Caffeine.
  442335767     A Caffeine.
  442340912     A Caffeine.
  442353415*    A Creatine, caffeine, CoQ10 & BCAA.
  442353721     A Don't know.
  442353919     A Vitamins C, B, and magnesium.
  442361339     A Mango.
  442365404     A Caffeine.
  442365619     A A healthy product with low calories.
  442386778     A Don't know.
  442390626*    A It is implied that the creatine is the main energy booster, along with the B
                    vitamins and magnesium.
  442411553     A Don't know.
  442433427     A Caffeine.
  442433605*    A Caffeine, creatine, BCAAs.
  442442305     A Caffeine.
  442479456*    A Creatine.
  442488784     A Caffeine.
  442503202     A Caffeine.
  442503560*    A Creatine.
  442508696     A Peach and mango.
  442517489     A Caffeine, about two cups of coffee.
  442517681     A Ginseng.
  442518008     A Caffeine.
  442522075     A B vitamins.

  1048                             Jay Survey Strategics LLC                       Appendix H‐4
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  ID           Ver.   C4.
  442526720+    A     Caffeine and super creatine.
  442531265*    A     Creatine.
  442531317     A     Don't know.
  442531571     A     Sugar.
  442535559     A     Caffeine.
  442537315     A     CoQ10 and BCAAs.
  442546411*    A     B vitamins (Niacin), creatine, caffeine.
  442565930*    A     Caffeine, creatine.
  442579874     A     Peach mango.
  442580009     A     Caffeine.
  442583397     A     Vitamin B6, B12, potassium and niacin.
  442601040     A     Caffeine.
  442627950     A     Caffeine.
  442673862     A     Caffeine.
  442685709     A     Don't know.
  442720368*    A     Caffeine, creatine, CoQ10, amino acids, vitamins B6, B12, and C, and
                      Niacin.
  442730781     A     Caffeine.
  442732424     A     CoQ10, caffeine.
  442737061     A     I can't remember.
  442737761     A     Caffeine, mainly.
  442768136*    A     Creatine, caffeine, B vitamins.
  442775616*    A     Creatine (isn't that a hormone of some kind?), caffeine, and CoQ10/amino
                      acids. This is amusing because CoQ10 is a primary ingredient in my facial
                      toner.
  442776258     A     Vitamins like B12.
  442797335     A     Caffeine.
  442811760     A     Don't know.
  442812309*    A     Caffeine, creatine, CoQ10, amino acids.
  442820355     A     Caffeine.
  442839018     A     Don't recall.
  442874947*    A     Creatine and caffeine.
  442888158     A     Caffeine.
  442909566     A     Guarana.
  442918989     A     Caffeine, CoQ10.
  442928241*    A     Creatine, BCAAs.


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  ID           Ver.   C4.
  442936669     A     Caffeine.
  442956181     A     Caffeine.
  442967451     A     BCAA, CoQ10, caffeine.
  442988795     A     Very good.
  442999308     A     Caffeine and BCAA.
  442999323*    A     Caffeine, creatine, CoQ10 and BCAAs.
  443070357     A     C.
  443079204     A     In the description, it tells me the proteins and the energy that it contains.
  443079707*    A     Creatine.
  443085749     A     Caffeine, BCAAs.
  443093245     A     Caffeine.
  443155754     A     Don't know.
  443171226*    A     Creatine, caffeine, CoQ10.
  443185185     A     Don't know.
  443195811     A     Caffeine.
  443280778     A     Caffeine.
  443310524     A     Don't know.
  443316304     A     Caffeine.
  443326408*    A     CoQ10, creatine.
  443349395*    A     Creatine.
  443349442     A     Don't know.
  443361204     A     Vitamin B12.
  443370809     A     Don't know.
  443370914     A     Don't know.
  443384130     A     Sugar.
  443391462*    A     Creatine, caffeine, CoQ10 and BCAAs.
  443397668*    A     Creatine and BCAA.
  443425794     A     B12, Vitamin C.
  443436579     A     Caffeine.
  443457985     A     Niacin.
  443472520     A     Caffeine.
  443472684     A     Vitamins C, B6, and 12.
  443483266*    A     Creatine.
  443507154     A     Don't know.
  443535148*    A     Creatine, vitamin C.
  443558752     A     Caffeine.

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  ID           Ver.   C4.
  443627005     A     Don't know.
  443650920     A     Caffeine.
  443654827     A     Don't know.
  443663464     A     Vitamin B12 and caffeine.
  443729157*    A     Caffeine, creatine.
  443730401     A     The type of product that contains this energy drink and the ingredients.
  443751700     A     Caffeine.
  443777719*    A     The creatine and vitamins.
  443790479     A     Caffeine.
  443790692*    A     Creatine, caffeine.
  443790982     A     Don't know.
  443795546     A     Caffeine.
  443797609     A     Caffeine.
  443799303     A     Vitamins, magnesium.
  443802694     A     Caffeine.
  443805108     A     Caffeine.
  443808440     A     Caffeine.
  443810737     A     Don't know.
  443814471     A     Sodium, potassium.
  443814927*    A     Creatine.
  443818211     A     The amino acids and CoQ10.
  443830002     A     Sugar.
  443834991     A     Caffeine, vitamin B.
  443835174     A     The B vitamins.
  443838487+    A     Super creatine.
  443845971     A     It's new and different.
  443846425     A     Sodium and potassium and vitamin B12.
  443856274*    A     Creatine.
  443875472     A     Caffeine, vitamins, etc.
  443886929     A     Caffeine, niacin and vitamin B.
  443887304*    A     This product has creatine and caffeine, which will boost your energy.
  443938413*    A     Caffeine, creatine.
  443944606     A     Caffeine, B vitamins, CoQ‐something.
  443945014*    A     Caffeine and creatine.
  443952254     A     Ultra CoQ10, caffeine.
  443953379     A     Caffeine.

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  ID           Ver.   C4.
  443971477     A     Caffeine.
  443971801     A     Caffeine and B vitamins.
  443981340*    A     The creatine in it.
  443989679     A     CoQ10.
  444019199*    A     Creatine and caffeine.
  444025401     A     Don't know.
  444074344     A     Caffeine.
  444078729*    A     Creatine, caffeine.
  444082003     A     Not sure. I'm sure there is plenty of the "usual" stuff in energy drinks. I
                      thought that the sidebar in the second photo was far too cluttered to
                      actually bother reading for most people. Certainly too much to retain, and
                      I could not read it or understand at a glance.
  444083010*    A     Creatine, caffeine.
  444084047     A     Caffeine.
  444100160     A     The flavor.
  444115379     A     All of them.
  444118817     A     Don't know.




  1048                              Jay Survey Strategics LLC                       Appendix H‐8
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                                       Appendix I

    What the Package Mainly Communicates About the Product
                        (Question C1)
                          Base: All Control Group Respondents




    C1. What, if anything, does this package mainly communicate to you about this product?




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  ID          Ver. C1.
  439892517    B   An energy drink with no sugar.
  439976174    B   Brain power.
  440270546    B   Natural. 0 calories, no crash.
  440426445    B   Energy drink, made in the USA.
  440615782    B   Energy drink.
  440615836    B   Don't know.
  440650289    B   That it is unhealthy.
  440707504    B   Bang, no calories.
  440720370    B   It sounds like it's a better energy drink than the rest. It has vitamins and
                   amino acids, without spiking your cholesterol or blood sugar levels.
  440720399    B   Nothing.
  440720572    B   Sounds high‐intense.
  440720771    B   It is supposed to be a healthy product.
  440720835    B   An energy drink with protein.
  440720904    B   This is a zero‐calorie energy drink.
  440720961    B   Bang Energy Drink.
  440720963    B   Drink to fuel brain, mango peach flavor, 0 calories.
  440726446    B   Energy, tastes good.
  440726524    B   It's peach mango and is zero calories.
  440726609    B   Don't know.
  440726707    B   It mainly tells you it is not a sugary soda drink disguising itself as an energy
                   drink. It has caffeine in it. No calories.
  440731382    B   Don't know.
  440731911    B   Lots of caffeine.
  440731951    B   That it is brain food, and has 300 mg of caffeine.
  440732213    B   Keeps you awake, alert and active, with caffeine as the main ingredient.
  440732554    B   It goes out of its way to communicate the amount of caffeine by
                   comparison to coffee, which makes it easier to evaluate than other energy
                   drinks. It also doesn't have high sugar, which is dangerous for many
                   people.
  440732612    B   Bang is keto‐friendly and low‐carb.
  440754871    B   Peach mango energy drink.
  440754919    B   Bang Energy Drink.
  440770308    B   A high level of caffeine and little‐to‐no nutritional value.
  440776490    B   Nutritious and healthy.
  440776762    B   It fuels your energy for the day.



  1048                            Jay Survey Strategics LLC                           Appendix I‐1
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  ID          Ver. C1.
  440780273    B It's an energy drink, intended for people not concerned with the health of
                   the beverages they consume.
  440788595    B It has a lot of caffeine, and no (or very little) sugar.
  440792882    B Potent brain and fuel energy.
  440815649    B Looking tasty, energizing, great for healthy options.
  440830128    B I think it's trying to communicate the product as an exciting energy drink fit
                   for people who like to go out and do stuff!
  440830167    B That it is an energy drink.
  440837355    B It has a beautiful design.
  440851413    B Another high‐caffeine energy drink. I think the cross hairs on the "b" in
                   Bang will be controversial and probably have to go.
  440892914    B This is a caffeinated energy drink that's fruit‐flavored.
  440900528    B It has lots of caffeine.
  440906483    B Body fuel.
  440908884    B A healthy drink.
  440927871    B Energy.
  440937843    B A high‐caffeine drink.
  440950805    B I like the taste of mango.
  440959107    B Gives you energy.
  440968758    B Trendy branding, sort of "punk rock" style.
  440999367    B It's a typical energy drink.
  441031111    B A drink that has positive health elements.
  441066128    B High caffeine.
  441082155    B It's a mental stimulant energy drink, without the sugar and calories most
                   energy drinks have.
  441092794    B This product is a zero‐calorie energy drink.
  441101805    B A beneficial drink.
  441114448    B It doesn't communicate too much, but it's nice.
  441153338    B Natural flavors.
  441154205    B It's an energy drink.
  441157684    B Don't know.
  441159199    B A good source of energy and protein.
  441166689    B It has no healthy value.
  441167299    B It's an energy drink that does not cause a crash in energy after the
                   boosting effects wear off.
  441167620    B Sleek, pop art, quality.
  441172429    B A no‐sugar, no‐crash protein energy drink.

  1048                            Jay Survey Strategics LLC                       Appendix I‐2
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  ID          Ver.   C1.
  441175379    B     0 calories, 0 sugar.
  441176944    B     Low carb, high caffeine, cool like the 2nd amendment. Fast.
  441189339    B     Low calorie, low carb, for young people.
  441192148    B     Don't know.
  441193173    B     That the product is an energy drink.
  441196229    B     It's not an energy drink.
  441248170    B     A better‐for‐you energy drink with important chemical compounds added
                     to promote brain and body health.
  441263333    B     A high‐energy drink.
  441268353    B     That it is not your typical sugary drink.
  441274098    B     An energy drink with zero calories.
  441311894    B     It is not your typical high‐sugar energy drink that allows crashing.
  441331771    B     That it's not your typical energy drink.
  441335207    B     It's an energy drink.
  441362981    B     It's sugar‐free.
  441363439    B     It is an energy drink, no sugars, no artificial colors.
  441367887    B     An energy drink with no calories.
  441367910    B     That it has no sugar and isn't a typical energy drink.
  441377470    B     It's an energy drink that has caffeine and no calories or sugar.
  441377697    B     That it is better for you than other energy drinks.
  441378929    B     It's not for everyone, and could be dangerous to your health if used
                     unwisely.
  441383691    B     That it's fuel for your brain and body.
  441387431    B     An all‐natural drink.
  441387540    B     It's a high‐energy fruit type drink.
  441407275    B     An energy drink.
  441454369    B     That it is an energy drink.
  441462434    B     It's an energy drink. Also, it is sugar‐free, no calories.
  441482817    B     It contains caffeine and other ingredients, no sugar.
  441538474    B     Bang gives you energy, and proudly made in the USA.
  441560484    B     Zero calories, mango flavor, no sugar crash, lots of vitamins.
  441563864    B     Energy drink, mango flavored.
  441585911    B     It's an energy drink. Buy me.
  441589078    B     Don't know.
  441592470    B     A safer energy drink.
  441626482    B     That it is a better alternative to other energy drinks.


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  ID          Ver. C1.
  441633309    B Don't know.
  441643360    B This product gives me enough information as to what it is made from and
                   that it would be much better than the so‐called health products that
                   currently give false information about their product.
  441664528    B Don't know.
  441665798    B An energy drink.
  441702202    B No‐calorie energy drink named Bang. No fruit juice.
  441712658    B Interesting and restful.
  441713456    B It's a very strong energy drink.
  441724119    B Don't know.
  441803963    B Caffeine.
  441815698    B It's an energy drink without the sugar.
  441846769    B It is not your normal energy drink. It's Banging good.
  441919828    B It's an energy drink with plenty of caffeine that won't give you a sugar
                   crash.
  442082839    B Mango drink mix.
  442109630    B That it's a drink for healthy people. You shouldn't consume other
                   caffeinated items while drinking Bang.
  442179374    B It's a bold‐in‐flavor, sugar‐free energy drink with creatine and natural
                   flavors.
  442199881    B Nothing that I found interesting.
  442199969    B An energy drink that's better for you and no calories.
  442223213    B It's an energy drink that contains caffeine, not sugar.
  442228868    B It's a potent energy booster.
  442249218    B That it is a cherry‐flavored energy drink.
  442266186    B That it has enough caffeine for two cups of coffee. Not to be consumed
                   under the age of 18. Zero calories, no sugar, etc.
  442300817    B Don't know.
  442304436    B It's a caffeinated energy drink with zero calories and sugar.
  442308900    B The kind of drink.
  442316866    B Sugarless, energy, delicious.
  442318453    B Don't know.
  442322276    B This is a new kind of energy drink with no sugar or carbs to make it
                   "better" for you.
  442322892    B No sugar.
  442326364    B That it tastes great and is less filling.




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  ID          Ver. C1.
  442327304    B Looks disgusting! It is probably disgusting. Why does energy drink branding
                   have to be so tacky and huge?
  442327345    B Drink me, I'm new on the block and I give you more energy than your
                   normal friend.
  442327466    B A more healthy energy drink.
  442335882    B It is an energy drink that supports the brain and the body. It has amino
                   acids and other nutrients that are essential for the body, especially after
                   working out.
  442336045    B Hype.
  442340381    B It has Bang, and it has juice and caffeine.
  442344681    B Good.
  442345151    B It's a healthy alternative to energy drinks – no sugar, low carbs.
  442345293    B It's a new energy drink.
  442345544    B An energy drink with other enhancements.
  442349030    B Bang mango flavor.
  442352894    B A healthy product.
  442353459    B Bang is a sugar‐free energy drink with no crash.
  442357040    B Energy grossness.
  442361059    B You can get a boost – a Bang – if you drink this product.
  442361748    B This is an energetic product.
  442364772    B It gives me mango‐flavored energy that feels the naturalness of the
                   product.
  442365760    B It's trying to be fancy and hip.
  442366068    B It is a hardcore energy‐type drink.
  442376532    B The features of the beverage.
  442386786    B It's a caffeine‐based energy drink in peach mango flavor with 0 calories. It
                   has some vitamins and minerals which have degraded and so now are
                   worthless. It also has BCAAs.
  442419346    B No sugar, no calories.
  442419584    B The way to use the product and what it is for.
  442459673    B It's not your typical energy drink or soda.
  442464877    B It's healthy, sharpens concentration, energizes.
  442471140    B The name is Bang, and it's an energy drink.
  442480136    B No nutritional value.
  442503466    B That it is potent.
  442503557    B Seems sporty and no‐nonsense in terms of providing energy. No attempt
                   to make it seem like a natural product.


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  ID          Ver.   C1.
  442504794    B     None.
  442508014    B     Has lots of caffeine in it.
  442508642    B     The color scheme grabs your attention and has an air of dominance. It also
                     gives off the idea that it may be healthy for you, which is backed up by the
                     statement on the back explaining the ways that other products may be
                     harmful in which their product does not.
  442512623    B     Bang is an energy drink. Also, good for the brain.
  442512801    B     This is a no‐calorie energy drink. Mango flavored.
  442517873    B     Don't know.
  442522700    B     A good product for health, since it does not have sugar and artificial
                     flavors.
  442527521    B     Zero sugar.
  442531290    B     An energy drink. No sugar.
  442540810    B     Energy drink.
  442541560    B     An energy drink with no crash. Healthier, with less harmful ingredients.
  442547565    B     It is some kind of energy drink.
  442557553    B     No sugar. Better energy drink.
  442561532    B     Good to drink.
  442575353    B     It's for younger people.
  442584678    B     I have to honestly say that this product, after carefully reading the
                     ingredients information and other written information on the can, may not
                     be very good for consumption by some people.
  442616912    B     It's an energy drink, maybe aimed at a male demo? The graphic design and
                     copy on the back feels a little "tough guy."
  442628416    B     Its name and flavor, and it's a healthier energy drink.
  442648522    B     Bang.
  442676440    B     Too trendy, with the "hit the brick wall."
  442679318    B     The coloring.
  442703661    B     This is an effective energy drink with none of the drawbacks of high sugar.
  442728502    B     An energy drink. The packaging looks extreme and bold.
  442732788    B     Caffeinated and an energy boost without sugar.
  442732878    B     This is an energy‐boosting drink.
  442737045    B     It contains a lot of caffeine.
  442737204    B     That it's trendy.
  442737756    B     It provides energy without all the unwanted extras that the other products
                     have.
  442760473    B     Don't know.


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  ID          Ver.   C1.
  442777985    B     Don't know.
  442783212    B     Peach mango flavor. High caffeine for energy. No sugar.
  442797633    B     It is an energy drink.
  442810888    B     Sounds like a new energy drink.
  442811824    B     Its colorful can is eye‐catching.
  442812043    B     An energy drink with a sugar crash.
  442812727    B     Clear to read. I like that it is zero calories.
  442863871    B     Low sugar/calorie drink.
  442881603    B     Special.
  442892608    B     I am not interested in the product.
  442904356    B     A 0 calorie, 0 carb, 0 sugar energy drink.
  442913880    B     That it's a "safe" energy drink.
  442919500    B     To have energy.
  442923670    B     It's a no‐calorie energy drink.
  442928106    B     That this beverage will give you energy without sugar.
  442941181    B     The general information of the product.
  442956279    B     It is a healthy and high‐quality product.
  442971842    B     A heavily caffeinated beverage with no calories.
  442973633    B     An energy drink.
  442980479    B     It's serious.
  442984964    B     Not like the others. No hard crashing, better ingredients, healthier,
                     caffeine.
  442992247    B     That it's a better drink for energy than others on the market.
  442995692    B     It's high sugar content, and supposed to help with energy.
  442999921    B     It has no sugar, no calories, and no artificial flavors.
  443024410    B     No sugar, no fat, and no other health issues that would be caused by the
                     drink.
  443027690    B     It's very healthy.
  443031429    B     The product is an energy drink, which is usually useful for waking me
                     awake.
  443041414    B     Sugar.
  443048595    B     It is easy to drink the product.
  443066897    B     Has no sugar and gives you energy.
  443079276    B     That the product is potent and contains some vitamins.
  443163204    B     An energy drink for the body and mind. 18 or older. Caffeine.
  443223118    B     Energy drink.


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  ID          Ver.   C1.
  443272360    B     A new energy drink without the crash of sugar.
  443297597    B     A fruity drink.
  443321432    B     It's not like regular energy drinks.
  443323092    B     Energy drink.
  443324595    B     Introduces the product and gives some info regarding why this product is
                     better than its competitors.
  443325202    B     Sugar‐free.
  443325670    B     An energy drink.
  443328343    B     An energy drink.
  443328745    B     It's different than other energy drinks.
  443337505    B     It's an energy drink, and caffeine can be harmful to your health.
  443337782    B     Don't know.
  443357750    B     A nice fruit flavor and no sugar.
  443388440    B     No sugars.
  443396326    B     An energy drink.
  443402324    B     An energy drink.
  443404702    B     It does not have the sugars a normal energy drink has.
  443409107    B     That it is a real energy drink, not a soda disguised as an energy drink.
  443409512    B     There's no calories, no sugar, and no fat. Made in the USA.
  443409590    B     This is a 0‐calorie energy drink.
  443436725    B     It's an energy drink with no sugar.
  443436756    B     "This product keeps you up, but doesn't hurt you," is what they are trying
                     to portray.
  443452064    B     It tells about an energy drink.
  443453906    B     Energy! It looks like a really standard energy drink. I would expect it to
                     taste like a Monster (really sugary).
  443460610    B     A no‐sugar energy drink. Fuel energy with caffeine.
  443466887    B     It has no calories.
  443472555    B     Too much caffeine.
  443472724    B     0 calories.
  443477523    B     Bang, a drink for your mind and body.
  443478483    B     What the can tells me is that it did not have sugars, with natural flavors.
  443502219    B     Looks like a Monster knockoff.
  443520574    B     An energy drink, not loaded with sugar.
  443550605    B     Yes.
  443568221    B     An energy drink, peach‐mango flavor.


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  ID          Ver.   C1.
  443614897    B     It tells me that the product is an energy drink.
  443633101    B     I am just like all the energy drinks.
  443641099    B     0 calories, 0 sugar, energy drink, peach‐mango flavor.
  443645451    B     Don't know.
  443653173    B     It's an energy drink and I do not like it.
  443654846    B     It's an energy drink with vitamin enhancements.
  443696377    B     High energy and vitamins.
  443696608    B     High energy drink with caffeine in it, not sugar.
  443696819    B     0‐calorie energy drink.
  443749357    B     It is healthy.
  443766200    B     A flavored energy drink with 0 sugar, carbs, calories.
  443767251    B     This is an excellent product.
  443789377    B     It's a typical mixture of ingredients in water that goes by the name Bang.
  443790677    B     The assertive title and can shape reminds me of an energy drink. I know it's
                     fruit‐flavored, since it states it on the front with a little graphic design near
                     it.
  443792916    B     That it's not your average energy drink. That it's a lot healthier.
  443796731    B     It's an all‐natural energy drink that is actually healthy, and has caffeine and
                     no sugar and no calories.
  443797420    B     It's an energy drink with caffeine and vitamins.
  443798140    B     It is an energy drink.
  443807254    B     This is an energy drink that has a lot of vitamins. It might be better than
                     other energy drinks out there.
  443807654    B     That it provides energy and boosts performance. That it doesn't have
                     sugar, so there's no sugar crash later.
  443808419    B     Has a lot of caffeine and no sugars.
  443814186    B     A new energy drink without sugar or calories that uses B vitamins and
                     caffeine.
  443819002    B     Drink energy.
  443820064    B     An energy drink.
  443826085    B     That it's healthy.
  443827620    B     An energy drink with zero calories.
  443830087    B     That this is a healthy energy drink. It has no sugars, calories, etc., and has
                     more vitamins mixed into it, so it is a healthy energy drink.
  443832461    B     Don't know.
  443835552    B     An energy drink.




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  ID          Ver. C1.
  443838565    B This package mainly communicates the brand, Bang, the calorie content,
                   and the brand's product information and nutrition facts.
  443840839    B An energy drink.
  443841507    B I consider this a product a person should evaluate carefully before
                   consuming. It does have some vitamin value, such as vitamin C, vitamin B6
                   and vitamin B12. It also has a lot of caffeine. I would question the
                   statement that it is a potent brain and body fuel. The fact it is
                   recommended for someone over 18 is a red flag for me. I like the peach‐
                   mango flavor. I would steer clear of it and not buy it.
  443846001    B Nice flavor.
  443847194    B Peach‐mango, and no sugar.
  443852228    B Bang, an energy diet beverage.
  443853144    B Good energy, no calories.
  443854416    B An energy drink.
  443864059    B Quick results.
  443865804    B Energy.
  443866117    B This is a dangerous "sugar‐free" product using artificial sweeteners, which
                   have been shown to cause weight gain, diabetes, and strokes.
  443903493    B The drink and its nutrition facts.
  443908301    B An energy drink.
  443910155    B The amount of caffeine.
  443925906    B It's not like normal energy drinks. You won't get that same crash that so
                   many others cause.
  443927911    B That it is a smooth drink, low calories.
  443929213    B Has a lot of caffeine and kids shouldn't drink it.
  443940340    B It's an energy drink that is sugar‐free.
  443949027    B Don't know.
  443949498    B That the drink does not have any sugar and is full of vitamins. It's
                   essentially a 5‐Hour Energy in energy drink form.
  443970437    B It seems good.
  443977930    B Don't know.
  443981839    B Zero calories and zero sugar, and is very healthy.
  443984044    B Don't know.
  443987128    B High caffeine, no sugar.
  444013216    B Bro culture.
  444034340    B Don't know.
  444042644    B A double dose of caffeine.
  444051986    B Bang energy drinks have zero fat and zero sugar.

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  ID          Ver.   C1.
  444065185    B     The flavor and what content.
  444078948    B     Don't know.
  444097980    B     It is good for the brain and energizes the body.
  444102404    B     Energy drink, good for body and mind.
  444115385    B     Gives energy.
  444120346    B     An energy drink with no sugar.




  1048                             Jay Survey Strategics LLC            Appendix I‐11
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                                         Appendix J*+

         What Ingredients in the Product Will Boost Your Energy
                              (Question C4)
      Base: Control Group Respondents Who Said the Package Does Communicate
                What Ingredients Will Boost Your Energy in Question C3




      C4. What ingredient or ingredients in this product do you think will boost your energy?




  *   An asterisk indicates that this survey respondent mentioned "creatine."
  +   A plus sign indicates that this survey respondent mentioned "super creatine."

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  ID           Ver. C4.
  440270546     B   Creatyl.
  440426445     B   Vitamin C, caffeine, electrolytes.
  440615782     B   Caffeine anhydrous.
  440720370     B   Caffeine, vitamin B12 and amino acids, calcium.
  440720399     B   Don't know.
  440720835     B   Peach and mango.
  440720904     B   Caffeine.
  440720963     B   Caffeine.
  440726446     B   Don't know.
  440726524     B   Vitamins C and B.
  440726707     B   Caffeine.
  440731382     B   Don't know.
  440731911     B   Caffeine.
  440731951     B   Caffeine.
  440732213     B   A hefty dose of caffeine!
  440732554     B   Caffeine.
  440754919     B   Vitamin C.
  440770308     B   Caffeine.
  440776490     B   Magnesium.
  440776762     B   Primarily the caffeine.
  440788595     B   Caffeine.
  440792882     B   BCAAs.
  440815649     B   B12.
  440830128     B   Number one is caffeine, and I believe Creatyl‐L‐Leucine, CoQ10, and
                    BCAAs as well.
  440830167     B   Don't know.
  440837355     B   The handle.
  440851413     B   Caffeine.
  440892914     B   Caffeine, vitamins B3, B6 and B12.
  440900528     B   Anhydrous caffeine, 300 mg.
  440906483     B   Caffeine.
  440908884     B   Don't know.
  440927871     B   300 mg of caffeine.
  440937843     B   Caffeine.
  440950805     B   Potassium.
  440959107     B   Caffeine.

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  ID           Ver.   C4.
  440968758     B     Caffeine, B12.
  440999367     B     Caffeine.
  441031111     B     I'm not sure. Possibly caffeine?
  441066128     B     Caffeine.
  441082155     B     Primarily a high dose of caffeine.
  441092794     B     Caffeine and B vitamins.
  441101805     B     Caffeine and some added vitamins.
  441114448     B     Caffeine.
  441154205     B     Don't know.
  441159199     B     Sugar.
  441167299     B     Caffeine, primarily.
  441175379     B     Don't know.
  441176944     B     Caffeine.
  441189339     B     Caffeine.
  441193173     B     Caffeine.
  441196229     B     Don't know.
  441248170     B     Caffeine.
  441268353     B     Vitamin B12, caffeine.
  441311894     B     Caffeine anhydrous.
  441331771     B     Don't know.
  441335207     B     Caffeine, B vitamins.
  441362981*    B     Creatine, amino acids.
  441363439     B     Caffeine.
  441367887     B     Caffeine.
  441377470     B     Caffeine.
  441377697     B     Caffeine.
  441378929     B     Caffeine.
  441387431     B     Caffeine.
  441407275     B     Don't know.
  441462434     B     B6 and B12.
  441538474     B     Caffeine.
  441560484     B     Caffeine.
  441563864     B     Don't know.
  441589078     B     Don't know.
  441592470     B     Don't know.
  441626482     B     B vitamins and niacin.

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  ID           Ver.   C4.
  441643360     B     No fat content, no sugars, 40% sodium.
  441664528     B     Caffeine, vitamin B12.
  441665798     B     No sugar.
  441702202     B     Caffeine.
  441712658     B     Caffeine.
  441713456     B     All the caffeine.
  441803963     B     Caffeine.
  441846769     B     BCAA. The 300 mg of caffeine, duh.
  441919828     B     Caffeine.
  442082839     B     Don't know.
  442179374     B     Natural caffeine, CoQ10 and BCAAs.
  442199881     B     Caffeine.
  442223213     B     Caffeine.
  442249218     B     Caffeine.
  442300817     B     Don't know.
  442304436     B     There are a few things I think I recognized from other energy drinks, but
                      the main focus was the caffeine.
  442316866     B     Caffeine.
  442322892     B     No carbs.
  442326364     B     Vitamin C and B.
  442327466     B     Caffeine.
  442335882     B     Caffeine.
  442340381     B     Caffeine.
  442344681     B     Don't know.
  442345151     B     Carbonated water.
  442345293     B     Caffeine.
  442345544     B     Caffeine.
  442349030     B     Caffeine.
  442352894     B     Caffeine, B12.
  442353459     B     Misc. supplements are listed in the ingredients.
  442357040     B     Don't know.
  442364772     B     The ingredient that increases my energy is mango, as the fruit has many
                      nutrients that give physical strength.
  442366068     B     Caffeine.
  442376532     B     Sodium, potassium and vitamins.
  442386786     B     Caffeine.


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  ID           Ver.   C4.
  442419346     B     Lots of caffeine.
  442459673     B     Caffeine.
  442464877     B     Don't know.
  442471140     B     Caffeine.
  442503466     B     Don't know.
  442503557     B     Caffeine, B12.
  442504794     B     Potassium.
  442508014     B     Caffeine.
  442512623     B     Caffeine.
  442527521     B     Don't know.
  442531290     B     Caffeine.
  442540810*    B     Creatine and caffeine.
  442557553     B     Caffeine.
  442561532     B     Caffeine.
  442616912     B     Caffeine, amino acids.
  442628416     B     Caffeine.
  442648522     B     Bang.
  442676440     B     Caffeine.
  442679318     B     N/A.
  442703661     B     Caffeine.
  442728502     B     Caffeine.
  442732788     B     Vitamins C, B6 and B12.
  442732878     B     Caffeine.
  442737045     B     Caffeine.
  442737204     B     Vitamin B12.
  442737756     B     Caffeine and amino acids.
  442783212     B     Caffeine.
  442810888     B     Caffeine.
  442811824     B     Caffeine.
  442812043     B     Vitamin B6, B12 aka niacin, caffeine and sugar levels.
  442812727     B     Caffeine, potassium, vitamin C.
  442863871     B     Caffeine.
  442881603     B     Different.
  442904356     B     Caffeine, Creatyl‐L‐Leucine, CoQ10, BCAA.
  442913880     B     Caffeine.
  442919500     B     The color of the packaging.

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  ID           Ver.   C4.
  442923670     B     300 mg of caffeine, a little B vitamins.
  442928106     B     Caffeine.
  442941181     B     Everyone.
  442956279     B     Don't know.
  442980479     B     Caffeine.
  442992247     B     Caffeine.
  443027690     B     Vitamins C and B, and caffeine.
  443031429     B     Creatyl‐L‐Leucine, CoQ10 and BCAA.
  443041414     B     Sugar.
  443048595     B     Don't know.
  443066897     B     The vitamin B6.
  443079276     B     Caffeine.
  443272360     B     Caffeine, BCAAs.
  443297597     B     Caffeine.
  443321432     B     Caffeine.
  443323092     B     Caffeine.
  443324595     B     Caffeine.
  443325202     B     B12.
  443325670     B     Caffeine.
  443328343     B     Caffeine.
  443328745     B     Caffeine and stuff.
  443337505     B     Caffeine.
  443357750     B     Caffeine, vitamin C, potassium.
  443388440     B     Niacin.
  443396326     B     Caffeine.
  443402324     B     Caffeine.
  443404702     B     Caffeine.
  443409107     B     Caffeine.
  443409590     B     Vitamins.
  443436725     B     Caffeine.
  443436756     B     Creatyl L‐Leucine.
  443452064     B     Potassium.
  443460610     B     Caffeine.
  443472555     B     Caffeine.
  443472724     B     Don't know.
  443477523     B     Potassium and carbs to boost energy.

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  ID           Ver.   C4.
  443478483     B     The ingredient of vitamin C.
  443502219     B     Lots of caffeine and other chemicals I know nothing about.
  443550605     B     Caffeine.
  443568221     B     Caffeine and some vitamins.
  443614897     B     Caffeine, sugar.
  443641099     B     Caffeine.
  443645451     B     Caffeine.
  443654846     B     Caffeine.
  443696377     B     Caffeine and vitamins.
  443696608     B     Caffeine, vitamins, potassium.
  443696819     B     Caffeine.
  443749357     B     Don't know.
  443766200     B     Don't know.
  443767251     B     Don't know.
  443790677     B     The caffeine, large amount of vitamins included, and no sugar will make
                      you feel energized and not sluggish.
  443792916     B     Caffeine.
  443796731     B     Caffeine.
  443797420     B     Caffeine, vitamins, and herbal ingredients.
  443798140     B     Caffeine.
  443807254     B     BCAAs, CoQ10, caffeine.
  443807654     B     The caffeine.
  443808419     B     Caffeine.
  443814186     B     Caffeine, B vitamins, CoQ10.
  443826085     B     Don't know.
  443827620     B     Caffeine.
  443830087     B     Vitamin C, niacin, magnesium.
  443832461     B     Don't know.
  443835552     B     Don't know.
  443838565     B     This product contains caffeine and Creatyl‐L‐Leucine, which boosts your
                      energy.
  443840839     B     Caffeine.
  443841507     B     I think the large amount of caffeine will give you somewhat of an energy
                      boost for a short period of time.
  443846001     B     Peach.
  443847194     B     Power for the brain and fuel for the body.


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  ID           Ver. C4.
  443852228     B Complex brain acids. B‐complex is very important, like niacin and others,
                    because the body does NOT fabricate or produce these essential vitamins
                    that are crucial for metabolic energy conversion, that need to be
                    supplemented outside the body.
  443853144     B B12.
  443864059     B Caffeine. Not sure about CoQ10.
  443865804     B Vitamins.
  443903493     B Carbons.
  443908301     B Potassium.
  443910155     B Caffeine.
  443925906     B Caffeine.
  443929213     B Caffeine.
  443940340     B Caffeine, L‐Creatyl, vitamin B, magnesium.
  443949498     B The vitamin B and caffeine.
  443970437     B Caffeine.
  443977930     B Don't know.
  443981839     B The body and brain.
  443984044     B Don't know.
  443987128+    B Caffeine, BCAA aminos, super creatine, ultra CoQ10.
  444013216     B Caffeine, B vitamins.
  444034340     B Don't know.
  444042644     B Caffeine.
  444051986     B Vitamin B.
  444065185     B The brain.
  444078948     B I love it.
  444102404     B Vitamin B‐12.
  444115385     B Don't know.
  444120346     B Caffeine.




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